                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

NICHOLAS NAVARROLI, on behalf of                    )
himself and all others similarly situated,          )
                                                    )       Case No.: 1:17-cv-05373
                       Plaintiff,                   )       Judge Robert M. Dow, Jr.
               vs.                                  )
                                                    )
LVNV FUNDING, LLC,                                  )
RESURGENT CAPITAL SERVICES, LP,                     )
ALEGIS GROUP, LLC., and                             )
FIRSTSOURCE ADVANTAGE, LLC,                         )
                                                    )
                       Defendants,                  )

SHABIH SIDDIQI, on behalf of                        )
himself and all others similarly situated,          )
                                                    )       Case No. 1:17-cv-06126
                       Plaintiff,                   )       Judge Robert M. Dow, Jr.
               vs.                                  )
                                                    )
DYNAMIC RECOVERY SOLUTIONS, LLC,                    )
et al.                                              )
                                                    )
                       Defendants,                  )


                         DECLARATION OF DANIEL A. EDELMAN

        Daniel A. Edelman declares under penalty of perjury, as provided for by 28 U.S.C. §1746,
that the following statements are true:

        Daniel A. Edelman declares under penalty of perjury, as provided for by 735 ILCS 5/1-109,
that the following statements are true:

      1.      Edelman, Combs, Latturner & Goodwin, LLC, has 8 principals, Daniel A.
Edelman, Cathleen M. Combs, James O. Latturner, Tara L. Goodwin, Julie Clark, Heather Kolbus,
Cassandra P. Miller, and Tiffany N. Hardy, and four associates.

       2.       Daniel A. Edelman is a 1976 graduate of the University of Chicago Law
School. From 1976 to 1981 he was an associate at the Chicago office of Kirkland & Ellis with heavy
involvement in the defense of consumer class action litigation (such as the General Motors Engine
Interchange cases). In 1981 he became an associate at Reuben & Proctor, a medium-sized firm
formed by some former Kirkland & Ellis lawyers, and was made a partner there in 1982. From the
end of 1985 he has been in private practice in downtown Chicago. Virtually all of his practice
involves litigation on behalf of consumers, through both class and individual actions. He is the
author of the chapters on the “Fair Debt Collection Practices Act,” “Truth in Lending Act,” and
“Telephone Consumer Protection Act” in Illinois Causes of Action (Ill. Inst. For Cont. Legal Educ.
2014 and earlier editions), author of the chapter on the Telephone Consumer Protection Act in
Federal Deception Law (National Consumer Law Center 2013 Supp.), author of Collection Defense

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(Ill. Inst. Cont. Legal Educ. 2008, 2011), and Collection Litigation: Representing the Debtor (Ill.
Inst. Cont. Legal Educ. 2014); author of Chapter 6, “Predatory Lending and Potential Class Actions,”
in Real Estate Litigation (Ill. Inst. For Cont. Legal Educ. 2004, 2008, 2013), co-author of Rosmarin
& Edelman, Consumer Class Action Manual (2d-4th editions, National Consumer Law Center 1990,
1995 and 1999); author of Representing Consumers in Litigation with Debt Buyers (Chicago Bar
Ass’n 2008); Predatory Mortgage Lending (Ill. Inst. for Cont. Legal. Educ. 2008, 2011), author of
Chapter 6, “Predatory Lending and Potential Class Actions,” in Real Estate Litigation (Ill. Inst. For
Cont. Legal Educ. 2004, 2008, 2014), Illinois Consumer Law, in Consumer Fraud and Deceptive
Business Practices Act and Related Areas Update (Chicago Bar Ass’n 2002); Payday Loans: Big
Interest Rates and Little Regulation, 11 Loy.Consumer L.Rptr. 174 (1999); author of Consumer
Fraud and Insurance Claims, in Bad Faith and Extracontractual Damage Claims in Insurance
Litigation, Chicago Bar Ass'n 1992; co-author of Chapter 8, "Fair Debt Collection Practices Act,"
Ohio Consumer Law (1995 ed.); co-author of Fair Debt Collection: The Need for Private
Enforcement, 7 Loy.Consumer L.Rptr. 89 (1995); author of An Overview of The Fair Debt
Collection Practices Act, in Financial Services Litigation, Practicing Law Institute (1999); co-author
of Residential Mortgage Litigation, in Financial Services Litigation, Practicing Law Institute (1996);
author of Automobile Leasing: Problems and Solutions, 7 Loy.Consumer L.Rptr. 14 (1994); author
of Current Trends in Residential Mortgage Litigation, 12 Rev. of Banking & Financial Services 71
(April 24, 1996); co-author of Illinois Consumer Law (Chicago Bar Ass'n 1996); co-author of D.
Edelman and M. A. Weinberg, Attorney Liability Under the Fair Debt Collection Practices Act
(Chicago Bar Ass'n 1996); and author of The Fair Debt Collection Practices Act: Recent
Developments, 8 Loy.Consumer L. Rptr. 303 (1996), among others. Mr. Edelman is also a frequent
speaker on consumer law topics for various legal organizations including the Chicago Bar
Association, the National Consumer Law Center’s Consumer Rights Litigation Conference, and the
Illinois Institute for Continuing Legal Education, and he has testified on behalf of consumers before
the Federal Trade Commission and the Illinois legislature. He is a member of the Illinois bar and
admitted to practice in the following courts: United States Supreme Court, Seventh Circuit Court of
Appeals, First Circuit Court of Appeals, Second Circuit Court of Appeals, Third Circuit Court of
Appeals, Fifth Circuit Court of Appeals, Sixth Circuit Court of Appeals, Eighth Circuit Court of
Appeals, Ninth Circuit Court of Appeals, Tenth Circuit Court of Appeals, Eleventh Circuit Court
of Appeals, United States District Courts for the Northern and Southern Districts of Indiana, United
States District Courts for the Northern, Central, and Southern Districts of Illinois, United States
District Courts for the Eastern and Western Districts of Wisconsin, United States District Court for
the Western District of Texas, United States District Court for the District of Colorado and the
Supreme Court of Illinois. He is a member of the Northern District of Illinois trial bar.

        3.      Cathleen M. Combs is a 1976 graduate of Loyola University Law School. From
1984-1991, she supervised the Northwest office of the Legal Assistance Foundation of Chicago,
where she was lead or co-counsel in class actions in the areas of unemployment compensation,
prison law, social security law, and consumer law. She joined what is now Edelman, Combs,
Latturner & Goodwin, LLC in early 1991 and became a named partner in 1993. Ms. Combs received
an Award for Excellence in Pro Bono Service from the Judges of the United States District Court
for the Northern District of Illinois and the Chicago Chapter of the Federal Bar Association on May
18, 2012. Ms. Combs has argued over fifteen cases in the 1 st, 3rd and 7th Circuit Court of Appeals
and the Illinois Appellate Court, and she is a frequent speaker on consumer law topics at various
legal organizations including the Chicago Bar Association, the National Consumer Law Center’s
Consumer Rights Litigation Conferences, and the Practicing Law Institute’s Consumer Financial
Services Institute. Ms. Combs is coauthor of The Bankruptcy Practitioner’s Guide to Consumer
Financial Services Actions After the Subprime Mortgage Crisis (LRP Publications 2010). Her
reported decisions include: Suesz v. Med-1 Solutions, LLC, 757 F.3d 636 (7th Cir. 2014) (en banc);
Siwulec v. J.M. Adjustment Servs., LLC, 465 Fed. Appx. 200 (3d Cir. 2012); Nielsen v. Dickerson,
307 F.3d 623 (7th Cir. 2002); Chandler v. American General Finance, Inc., 329 Ill. App.3d 729, 768

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N.E.2d 60 (1st Dist. 2002); Miller v. McCalla Raymer, 214 F.3d 872 (7th Cir. 2000); Bessette v.
Avco Financial Services, 230 F.3d 439 (1st Cir. 2000); Emery v. American Gen. Fin., Inc., 71 F.3d
1343 (7th Cir. 1995); McDonald v. Asset Acceptance, LLC, 296 F.R.D. 513 (E.D.Mich. 2013); and
Tocco v. Real Time Resolutions, 48 F.Supp.3d 535 (S.D.N.Y. 2014). She is a member of the Illinois
bar and admitted to practice in the following courts: United States District Courts for the Northern,
Central and Southern Districts of Illinois, United States District Courts for the Northern and
Southern Districts of Indiana, Seventh Circuit Court of Appeals, Third Circuit Court of Appeals,
Fifth Circuit Court of Appeals, and Tenth Circuit Court of Appeals. She is a member of the
Northern District of Illinois trial bar.

       4.       James O. Latturner is a 1962 graduate of the University of Chicago Law
School. Until 1969, he was an associate and then a partner at the Chicago law firm of Berchem,
Schwanes & Thuma. From 1969 to 1995 he was Deputy Director of the Legal Assistance
Foundation of Chicago, where he specialized in consumer law, including acting as lead counsel in
over 30 class actions. His publications include Chapter 8 ("Defendants") in Federal Practice
Manual for Legal Services Attorneys (M. Masinter, Ed., National Legal Aid and Defender
Association 1989); Governmental Tort Immunity in Illinois, 55 Ill.B.J. 29 (1966); Illinois Should
Explicitly Adopt the Per Se Rule for Consumer Fraud Act Violations, 2 Loy.Consumer L.Rep. 64
(1990), and Illinois Consumer Law (Chicago Bar Ass'n 1996). He has taught in a nationwide series
of 18 Federal Practice courses sponsored by the Legal Services Corporation, each lasting four days
and designed for attorneys with federal litigation experience. He has argued over 30 appeals,
including two cases in the United States Supreme Court, three in the Illinois Supreme Court, and
numerous cases in the Seventh, Third, Fifth, and Eleventh Circuits. Mr. Latturner was involved in
many of the significant decisions establishing the rights of Illinois consumers. He is a member of
the Northern District of Illinois trial bar.

        5.      Tara L. Goodwin is a graduate of the University of Chicago (B.A., with general
honors, 1988) and Illinois Institute of Technology, Chicago-Kent College of Law (J.D., with high
honors,1991). Ms. Goodwin was Chair of the Chicago Bar Association’s Consumer Law Committee
from 2007 - 2010, and she has previously been on the faculty of the Practicing Law Institute's
Consumer Financial Services Institute in Chicago, speaking on issues relating to the Fair Debt
Collection Practices Act and mortgage litigation. Ms. Goodwin spoke at the 2016 Conference on
Consumer Finance Law on mortgage servicing issues. Ms. Goodwin has also been a frequent speaker
at the Chicago Bar Association, speaking on topics such as how to assist consumers with credit
reporting problems, developments in class action law and arbitration agreements in consumer
contracts. Reported Cases. Aleksic v. Experian Information Solutions, Inc., 2014 WL 2769122
(N.D.Ill. June 18, 2014); Taylor v. Screening Reports, Inc., 2015 WL 4052824 (N.D.Ill. July 2,
2015); Williams v. Chartwell Financial Services, Ltd., 204 F.3d 748 (7th Cir. 2000); Hillenbrand
v. Meyer Medical Group, 288 Ill.App.3d 871, 682 N.E.2d 101 (1st Dist. 1997), later opinion, 308
Ill.App.3d 381, 720 N.E.2d 287 (1st Dist. 1999); Bessette v. Avco Fin. Servs., 230 F.3d 439 (1st Cir.
2000); Large v. Conseco Fin. Servicing Co., 292 F.3d 49 (1st Cir. 2002); Flippin v. Aurora Bank,
FSB, 12 C 1996, 2012 WL 3260449 , 2012 U.S. Dist. LEXIS 111250 (N.D.Ill. Aug. 8, 2012); Henry
v. Teletrack, Inc., 11 C 4424, 2012 WL 769763, 2012 U.S. Dist. LEXIS 30495 (N.D.Ill. March 7,
2012); Kesten v. Ocwen Loan Servicing, LLC, 11 C 6981, 2012 WL 426933, 2012 U.S. Dist. LEXIS
16917 (N.D.Ill. Feb. 9, 2012); Bunton v. Cape Cod Village, LLC, No. 09-1044, 2009 WL 2139441,
2009 U.S. Dist. LEXIS 57801 (C.D.Ill. July 6, 2009); Wilson v. Harris N.A., No. 06 C 5840, 2007
WL 2608521, 2007 U.S. Dist. LEXIS 65345 (N.D.Ill. Sept. 4, 2007); Carbajal v. Capital One, 219
F.R.D. 437 (N.D.Ill. 2004); Russo v. B&B Catering, 209 F.Supp.2d 857 (N.D.Ill. 2002); Romaker
v. Crossland Mtg. Co., No. 94 C 3328, 1996 WL 254299, 1996 U.S.Dist. LEXIS 6490 (N.D.Ill.
May 10, 1996); Mount v. LaSalle Bank Lake View, 926 F.Supp. 759 (N.D.Ill 1996). Ms. Goodwin
is a member of the Illinois bar and is admitted in the Seventh, First, and D.C. Circuit Courts of


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Appeals, and the United States District Courts for the Northern and Central Districts of Illinois, and
the Northern District of Indiana. She is also a member of the Northern District of Illinois trial bar.

        6.       Julie Clark (neé Cobalovic) is a graduate of Northern Illinois University (B.A.,
1997) and DePaul University College of Law (J.D., 2000). Reported Cases: Ballard RN Center, Inc.
v. Kohll’s Pharmacy and Homecare, Inc., 2015 IL 118644, 48 N.E.3d 1060 (Ill.Sup.Ct.) ; Record-A-
Hit, Inc. v. Nat'l. Fire Ins. Co., 377 Ill. App. 3d 642; 880 N.E.2d 205 (1st Dist. 2007); Qualkenbush
v. Harris Trust & Savings Bank, 219 F. Supp.2d 935 (N.D.Ill. 2002); Covington-McIntosh v. Mount
Glenwood Memory Gardens, 00 C 186, 2002 WL 31369747 (N.D.Ill., Oct. 21, 2002), later opinion,
2003 WL 22359626 (N.D.Ill. Oct. 15, 2003); Western Ry. Devices Corp. v. Lusida Rubber Prods.,
06 C 52, 2006 WL 1697119, 2006 U.S. Dist. LEXIS 43867 (N.D.Ill. June 13, 2006); Nautilus Ins.
Co. v. Easy Drop Off, LLC, 06 C 4286, 2007 U.S. Dist. LEXIS 42380 (N.D.Ill. June 4, 2007);
Ballard Nursing Center, Inc. v. GF Healthcare Products, Inc., 07 C 5715, 2007 WL 3448731, 2007
U.S. Dist. LEXIS 84425 (N.D.Ill. Nov. 14, 2007); Sadowski v. Med1 Online, LLC, 07 C 2973, 2008
WL 2224892, 2008 U.S. Dist. LEXIS 41766 (N.D.Ill. May 17, 2008); Sadowski v. OCO Biomedical,
Inc., 08 C 3225, 2008 WL 5082992, 2008 U.S. Dist. LEXIS 96124 (N.D.Ill. Nov. 25, 2008); ABC
Bus. Forms, Inc. v. Pridamor, Inc., 09 C 3222, 2009 WL 4679477, 2009 U.S. Dist. LEXIS 113847
(N.D.Ill. Dec. 1, 2009); Glen Ellyn Pharmacy v. Promius Pharma, LLC, 09 C 2116, 2009 WL
2973046, 2009 U.S. Dist. LEXIS 83073 (N.D.Ill. Sept. 11, 2009); Garrett v. Ragle Dental Lab., Inc.,
10 C 1315, 2010 WL 4074379, 2010 U.S. Dist. LEXIS 108339 (N.D.Ill. Oct. 12, 2010); Garrett v.
Sharps Compliance, Inc., 10 C 4030, 2010 WL 4167157, 2010 U.S. Dist. LEXIS 109912 (N.D.Ill.
Oct. 14, 2010).

        7.      Heather A. Kolbus (neé Piccirilli) is a graduate of DePaul University (B.S. cum
laude, 1997), and Roger Williams University School of Law (J.D., 2002). Reported Cases: Clark
v. Experian Info. Solutions, Inc., 8:00cv1217-22, 2004 WL 256433, 2004 U.S. Dist. LEXIS 28324
(D.S.C., Jan. 14, 2004); DeFrancesco v. First Horizon Home Loan Corp., 06-0058, 2006 WL
3196838, 2006 U.S. Dist. LEXIS 80718 (S.D.Ill. Nov. 2, 2006); Jeppesen v. New Century Mortgage
Corp., 2:05cv372, 2006 WL 3354691, 2006 U.S. Dist. LEXIS 84035 (N.D.Ind. Nov. 17, 2006);
Benedia v. Super Fair Cellular, Inc., 07 C 1390, 2007 WL 2903175, 2007 U.S. Dist. LEXIS 71911
(N.D.Ill. Sept. 26, 2007); Gonzalez v. Codilis & Assocs., P.C., 03 C 2883, 2004 WL 719264, 2004
U.S. Dist. LEXIS 5463 (N.D.Ill. March 30, 2004); Centerline Equipment Corp. v. Banner Personnel
Svc., Inc., 07 C 1611, 2009 WL 1607587, 2009 U.S. Dist. LEXIS 48092 (N.D.Ill. June 9, 2009); R.
Rudnick & Co. v. G.F. Protection, Inc., 08 C 1856, 2009 WL 112380, 2009 U.S. Dist. LEXIS 3152
(N.D.Ill. Jan. 15, 2009); Pollack v. Cunningham Financial Group, LLC, 08 C 1405, 2008 WL
4874195, 2008 U.S. Dist. LEXIS 4166 (N.D.Ill. June 2, 2008); Pollack v. Fitness Innovative Techs.,
LLC, No. 08 CH 03430, 2009 WL 506280, 2009 TCPA Rep. 1858 (Ill. Cir. Ct., Jan. 14, 2009); R.
Rudnick & Co. v. Brilliant Event Planning, Inc., No. 09 CH 18924, 2010 WL 5774848, 2010 TCPA
Rep. 2099 (Ill. Cir. Ct., Nov. 30, 2010).

        8.      Cassandra P. Miller is a graduate of the University of Wisconsin – Madison
(B.A. 2001) and John Marshall Law School (J.D. magna cum laude 2006). Reported Cases:
Pietras v. Sentry Ins. Co., 513 F.Supp.2d 983 (N.D.Ill. 2007); Hernandez v. Midland Credit Mgmt.,
04 C 7844, 2007 WL 2874059, 2007 U.S. Dist. LEXIS 16054 (N.D.Ill. Sept. 25, 2007); Balogun v.
Midland Credit Mgmt., 1:05cv1790, 2007 WL 2934886, 2007 U.S. Dist. LEXIS 74845 (S.D.Ind.
Oct. 5, 2007); Herkert v. MRC Receivables Corp., 655 F. Supp. 2d 870 (N.D.Ill. 2008); Miller v.
Midland Credit Management, Inc., No. 08 C 780, 2009 WL 528796, 2009 U.S. Dist. LEXIS 16273
(N.D.Ill. March 2, 2009); Frydman v. Portfolio Recovery Associates, LLC, 11 C 524, 2011 WL
2560221, 2011 U.S. Dist. LEXIS 69502 (N.D.Ill. June 28, 2011).

       9.      Tiffany N. Hardy is a graduate of Tuskegee University (B.A. 1998) and


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Syracuse University College of Law (J.D. 2001). Reported cases: Unifund v. Shah, 407 Ill.App.3d
737, 946 N.E.2d 885 (1st Dist. 2011), later opinion, 2013 IL App (1st) 113658, 993 N.E.2d 518;
Tocco v. Real Time Resolutions, 48 F.Supp.3d 535 (S.D.N.Y. 2014); Balbarin v. North Star, 10 C
1846, 2011 WL 211013, 2011 U.S. Dist. LEXIS 686 (N.D.Ill. Jan. 5, 2011)(class certified); Diaz v.
Residential Credit Solutions, Inc., 965 F.Supp.2d 249 (E.D.N.Y. 2013), later opinion, 297 F.R.D.
42 (E.D.N.Y. 2014), later opinion, 299 F.R.D. 16 (E.D.N.Y. 2014); Manlapaz v. Unifund, 08 C
6524, 2009 WL 3015166, 2009 U.S. Dist. LEXIS 85527 (N.D.Ill. Sept. 15, 2009); Matmanivong
v. Unifund, 08 C 6415, 2009 WL 1181529, 2009 U.S. Dist. LEXIS 36287 (N.D.Ill. Apr. 28, 2009);
Kubiski v. Unifund, 08 C 6421, 2009 WL 774450, 2009 U.S. Dist. LEXIS 26754 (N.D.Ill. Mar. 25,
2009); Cox v. Unifund CCR Partners, 08 C 1005 (N.D.Ill. Dec. 4, 2008) (Report and
Recommendation for Class Certification); Ramirez v. Palisades Collection LLC, 250 F.R.D. 366
(N.D.Ill. 2008) (class certified), later opinion, 07 C 3840, 2008 WL 2512679, 2008 U.S. Dist. LEXIS
48722 (N.D.Ill., June 23, 2008) (summary judgment denied); Cotton v. Asset Acceptance, 07 C 5005,
2008 WL 2561103, 2008 U.S. Dist. LEXIS 49042 (N.D.Ill. June 26, 2008) (class certified); Ketchem
v. American Acceptance Co., 641 F. Supp. 2d 782 (N.D.Ind. 2008); D’Elia v. First Capital, 07 C
6042, 2008 WL 4344571, 2008 U.S. Dist. LEXIS 22461 (N.D.Ill. Mar. 19, 2008). She is admitted
in New York and the District of Columbia as well as Illinois.

       10.     Associates:

               a.      David Kim is a graduate of the University of Illinois (B.A., 2001, M.A.,
2004) and Illinois Institute of Technology, Chicago-Kent College of Law (J.D., 2010).

              b.       Isabella Janusz is a graduate of Georgetown University (B.S.F.S. 2011)
and the University of Chicago Law School (J.D. 2014).

              c.     Paul M. Waldera is a graduate of the University of Illinois (B.S., 2014)
and University of Michigan Law School (J.D., 2017).

              d.   Mary Frances Charlton is a graduate of Spring Hill College (B.S., 2009)
and American University - Washington College of Law (J.D., 2013). She is a member of the
Virginia bar.

       11.     The firm also has a dozen legal assistants and support staff.

      12.   Since its inception, the firm has recovered more than $500 million for
consumers. The types of cases handled by the firm are illustrated by the following:

        13.     Collection practices: The firm has brought numerous cases under the
Fair Debt Collection Practices Act, both class and individual. Decisions include: Jenkins v. Heintz,
25 F.3d 536 (7th Cir. 1994), aff'd 514 U.S. 291 (1995) (FDCPA coverage of attorneys); Suesz v.
Med-1 Solutions, LLC, 757 F.3d 636 (7th Cir. 2014)(en banc); Janetos v. Fulton, Friedman &
Gullace, LLP, 825 F.3d 317 (7th Cir. 2016); Phillips v. Asset Acceptance, LLC, 736 F.3d 1076 (7th
Cir. 2013); Soppet v. Enhanced Recovery Co., 679 F.3d 637 (7th Cir. 2012); Ruth v. Triumph
Partnerships, 577 F.3d 790 (7th Cir. 2009); Hale v. Afni, Inc., 08 C 3918, 2010 WL 380906, 2010
U.S. Dist. LEXIS 6715 (N.D.Ill. Jan. 26, 2010); Parkis v. Arrow Fin Servs., 07 C 410, 2008 WL
94798, 2008 U.S. Dist. LEXIS 1212 (N.D.Ill. Jan. 8, 2008); Foster v. Velocity Investments, 07 C
824, 2007 WL 2461665, 2007 U.S. Dist. LEXIS 63302 (N.D. Ill. Aug. 24, 2007); Foreman v. PRA
III, LLC, 05 C 3372, 2007 WL 704478, 2007 U.S. Dist. LEXIS 15640 (N.D. Ill. March 5, 2007);
Schutz v. Arrow Fin. Services, 465 F. Supp. 2d 872 (N.D.Ill. 2006); McMahon v. LVNV Funding,
LLC, 744 F.3d 1010 (7th Cir. 2014), later opinion, 807 F.3d 872 (7th Cir. 2015) (collection of time-
barred debts); Siwulec v. J.M. Adjustment Servs., LLC, 465 Fed. Appx. 200 (3d Cir. 2012); (activities

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of mortgage company field agents); Fields v. Wilber Law Firm, P.C., 383 F.3d 562 (7th Cir. 2004);
Schlosser v. Fairbanks Capital Corp., 323 F.3d 534 (7th Cir. 2003) (FDCPA coverage of debt
buyers); Peter v. GC Servs. L.P., 310 F.3d 344 (5th Cir. 2002); Nielsen v. Dickerson, 307 F.3d 623
(7th Cir. 2002) (attorney letters without attorney involvement); Boyd v. Wexler, 275 F.3d 642 (7th Cir.
2001); Miller v. McCalla, Raymer, Padrick, Cobb, Nichols, & Clark, L.L.C., 214 F.3d 872 (7th Cir.
2000); Johnson v. Revenue Management, Inc., 169 F.3d 1057 (7th Cir.1999); Keele v. Wexler &
Wexler, 95 C 3483, 1995 WL 549048, 1995 U.S.Dist. LEXIS 13215 (N.D.Ill. Sept. 12, 1995)
(motion to dismiss), later opinion, 1996 WL 124452, 1996 U.S.Dist. LEXIS 3253 (N.D.Ill., March
18, 1996) (class), aff'd, 149 F.3d 589 (7th Cir. 1998); Mace v. Van Ru Credit Corp., 109 F.3d 338
(7th Cir. 1997); Maguire v. Citicorp Retail Services, Inc., 147 F.3d 232 (2nd Cir. 1998); Young v.
Citicorp Retail Services, Inc., No. 97-9397, 1998 U.S.App. LEXIS 20268, 159 F.3d 1349 (2nd Cir.,
June 29, 1998) (unpublished); Charles v. Lundgren & Assocs., P.C., 119 F.3d 739 (9th Cir. 1997);
Avila v. Rubin, 84 F.3d 222 (7th Cir. 1996), aff'g Avila v. Van Ru Credit Corp., 94 C 3234, 1994 WL
649101 (N.D.Ill., Nov. 14, 1994), later opinion, 1995 WL 22866 (N.D.Ill., Jan. 18, 1995), later
opinion, 1995 WL 41425 (N.D.Ill., Jan. 31, 1995), later opinion, 1995 WL 55255 (N.D.Ill., Feb. 8,
1995), later opinion, 1995 WL 683775, 1995 U.S.Dist. LEXIS 17117 (N.D.Ill., Nov. 16, 1995);
Tolentino v. Friedman, 833 F.Supp. 697 (N.D.Ill. 1993), aff'd in part and rev'd in part, 46 F.3d 645
(7th Cir. 1995); Diaz v. Residential Credit Solutions, Inc., 965 F.Supp.2d 249 (E.D.N.Y. 2013), later
opinion, 297 F.R.D. 42 (E.D.N.Y. 2014), later opinion, 299 F.R.D. 16 (E.D.N.Y. 2014); Stubbs v.
Cavalry SPV I, 12 C 7235, 2013 WL 1858587 (N.D.Ill., May 1, 2013); Osborn v. J.R.S.-I., Inc., 13
C 621, 2013 WL 2467654 (N.D.Ill., June 7, 2013); Terech v. First Resolution Mgmt. Corp., 854
F.Supp.2d 537, 544 (N.D.Ill. 2012); Casso v. LVNV Funding, LLC, 12 C 7328, 2013 WL 3270654
(N.D.Ill., June 26, 2013); Simkus v. Cavalry Portfolio Services, LLC, 11 C 7425, 2012 WL 1866542
(N.D.Ill., May 22, 2012); McDonald v. Asset Acceptance LLC, 296 F.R.D. 513 (E.D.Mich. 2013);
Ramirez v. Apex Financial Management, LLC, 567 F. Supp.2d 1035 (N.D. Ill. 2008); Cotton v.
Asset Acceptance, LLC, 07 C 5005, 2008 WL 2561103, 2008 U.S. Dist. LEXIS 49042 (N.D.Ill.,
June 26, 2008); Buford v. Palisades Collection, LLC, 552 F. Supp. 2d 800 (N.D.Ill. 2008); Martin
v. Cavalry Portfolio Servs., LLC, 07 C 4745, 2008 WL 4372717, 2008 U.S. Dist. LEXIS 25904
(N.D.Ill., March 28, 2008); Ramirez v. Palisades Collection LLC, 250 F.R.D. 366 (N.D.Ill. 2008)
(class certified), later opinion, 07 C 3840, 2008 WL 2512679, 2008 U.S. Dist. LEXIS 48722
(N.D.Ill., June 23, 2008) (summary judgment denied); Hernandez v. Midland Credit Mgmt., 04 C
7844, 2007 WL 2874059, 2007 U.S. Dist. LEXIS 16054 (N.D.Ill., Sept. 25, 2007) (balance transfer
program); Blakemore v. Pekay, 895 F.Supp.972 (N.D.Ill. 1995); Oglesby v. Rotche, 93 C 4183, 1993
WL 460841, 1993 U.S.Dist. LEXIS 15687 (N.D.Ill., Nov. 5, 1993), later opinion, 1994 U.S.Dist.
LEXIS 4866, 1994 WL 142867 (N.D.Ill., April 18, 1994); Laws v. Cheslock, 98 C 6403, 1999 WL
160236, 1999 U.S.Dist. LEXIS 3416 (N.D.Ill., Mar. 8, 1999); Davis v. Commercial Check Control,
Inc., 98 C 631, 1999 WL 89556, 1999 U.S. Dist. LEXIS 1682 (N.D.Ill., Feb. 12, 1999); Hoffman v.
Partners in Collections, Inc., 93 C 4132, 1993 WL 358158, 1993 U.S.Dist. LEXIS 12702 (N.D.Ill.,
Sept. 15, 1993); Vaughn v. CSC Credit Services, Inc., 93 C 4151, 1994 WL 449247, 1994 U.S.Dist.
LEXIS 2172 (N.D.Ill., March 1, 1994), adopted, 1995 WL 51402, 1995 U.S.Dist. LEXIS 1358
(N.D.Ill., Feb. 3, 1995); Beasley v. Blatt, 93 C 4978, 1994 WL 362185, 1994 U.S.Dist. LEXIS 9383
(N.D.Ill., July 11, 1994); Taylor v. Fink, 93 C 4941, 1994 WL 669605, 1994 U.S.Dist. LEXIS 16821
(N.D.Ill., Nov. 23, 1994); Gordon v. Fink, 93 C 4152, 1995 WL 55242, 1995 U.S.Dist. LEXIS 1509
(N.D.Ill., Feb. 7, 1995); Brujis v. Shaw, 876 F.Supp. 198 (N.D.Ill. 1995).

         14.    Jenkins v. Heintz is a leading decision regarding the liability of attorneys under
the Fair Debt Collection Practices Act. Mr. Edelman argued it before the Supreme Court and
Seventh Circuit. Avila v. Rubin and Nielsen v. Dickerson are leading decisions on phony "attorney
letters." Suesz v. Med-1 Solutions, LLC is a leading decision on the FDCPA venue requirements.
McMahon v. LVNV Funding, LLC is a leading decision on the collection of time-barred debts.

       15.     Debtors’ rights. Important decisions include: Ramirez v. Palisades Collection

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LLC, 250 F.R.D. 366 (N.D.Ill. 2008) (class certified), later opinion, 07 C 3840, 2008 WL 2512679,
2008 U.S. Dist. LEXIS 48722 (N.D.Ill., June 23, 2008) (summary judgment denied) (Illinois statute
of limitations for credit card debts); Parkis v. Arrow Fin Servs., 07 C 410, 2008 WL 94798, 2008
U.S. Dist. LEXIS 1212 (N.D.Ill. Jan. 8, 2008); Rawson v. Credigy Receivables, Inc., 05 C 6032,
2006 WL 418665, 2006 U.S. Dist. LEXIS 6450 (N.D.Ill., Feb. 16, 2006) (same); McMahon v. LVNV
Funding, LLC, 744 F.3d 1010 (7th Cir. 2014) (collection of time-barred debts without disclosure);
Jones v. Kunin, 99-818-GPM, 2000 WL 34402017, 2000 U.S. Dist. LEXIS 6380 (S.D.Ill., May 1,
2000) (scope of Illinois bad check statute); Qualkenbush v. Harris Trust & Sav. Bank, 219 F. Supp.
2d 935 (N.D.Ill. 2002) (failure to allow cosigner to take over obligation prior to collection action);
Suesz v. Med-1 Solutions, LLC, 757 F.3d 636 (7th Cir. 2014) (en banc) (venue abuse).

        16.     Telephone Consumer Protection Act. The firm has brought a number of
cases under the Telephone Consumer Protection Act, 47 U.S.C. §227, which prohibits “junk faxes,”
spam text messages, robocalls to cell phones, and regulates telemarketing practices. Important junk
fax and spam text message decisions include: Brill v. Countrywide Home Loans, Inc., 427 F.3d 446
(7th Cir. 2005); Sadowski v. Med1 Online, LLC, 07 C 2973, 2008 WL 2224892, 2008 U.S. Dist.
LEXIS 41766 (N.D.Ill., May 27, 2008); Benedia v. Super Fair Cellular, Inc., 07 C 01390, 2007 WL
2903175, 2007 U.S. Dist. LEXIS 71911 (N.D.Ill., Sept. 26, 2007); Centerline Equip. Corp. v.
Banner Pers. Serv., 545 F. Supp. 2d 768 (N.D.Ill. 2008); ABC Business Forms, Inc. v. Pridamor,
Inc., 09 C 3222, 2009 WL 4679477, 2009 U.S. Dist. LEXIS 113847 (N.D.Ill. Dec. 1, 2009); Glen
Ellyn Pharmacy, Inc. v. Promius Pharma, LLC, 09 C 2116, 2009 WL 2973046, 2009 U.S. Dist.
LEXIS 83073 (N.D.Ill. Sept. 11, 2009); Garrett v. Ragle Dental Laboratory, Inc., 10 C 1315, 2010
WL 3034709, 2010 U.S. Dist. LEXIS, 108339 (N.D.Ill., Aug. 3, 3010).

        17.     The firm has also brought a number of cases complaining of robocalling and
telemarketing abuse, in violation of the Telephone Consumer Protection Act. Decisions in these
cases include: Soppet v. Enhanced Recovery Co., 679 F.3d 637 (7th Cir. 2012); Balbarin v. North
Star Capital Acquisition, LLC, 10 C 1846, 2011 WL 211013, 2011 U.S. Dist. LEXIS 686 (N.D.Ill.
Jan. 21, 2011), motion to reconsider denied, 2011 U.S. Dist. LEXIS 58761 (N.D.Ill. 2011); Sojka
v. DirectBuy, Inc., 12 C 9809 et al., 2014 WL 1089072 (N.D.Ill., Mar. 18, 2014), later opinion, 2014
WL 1304234 (N.D.Ill., March 31, 2014). The firm has a leadership role in Portfolio Recovery
Associates, LLC, Telephone Consumer Protection Act Litigation, MDL No. 2295, and Midland
Credit Management, Inc., Telephone Consumer Protection Act Litigation, MDL No. 2286.

       18.     Fair Credit Reporting Act: The firm has filed numerous cases under the Fair
Credit Reporting Act, which include: Henry v. Teletrack, Inc., 11 C 4424, 2012 WL 769763, 2012
U.S. Dist. LEXIS 30495 (N.D.Ill. March 7, 2012).

         19.     Another line of cases under the Fair Credit Reporting Act which we have brought,
primarily as class actions, alleges that lenders and automotive dealers, among others, improperly
accessed consumers’ credit information, without their consent and without having a purpose for
doing so permitted by the FCRA. Cole v. U.S. Capital, Inc., 389 F.3d 719 (7th Cir. 2004); Murray
v. GMAC Mortgage Corp., 434 F.3d 948 (7th Cir. 2006); Perry v. First National Bank, 459 F.3d 816
(7th Cir. 2006).

       20.    Class action procedure: Important decisions include McMahon v. LVNV
Funding, LLC, 807 F.3d 872 (7th Cir. 2015); Phillips v. Asset Acceptance, LLC, 736 F.3d 1076 (7th
Cir. 2013); Crawford v. Equifax Payment Services, Inc., 201 F.3d 877 (7th Cir. 2000); Blair v.
Equifax Check Services, Inc., 181 F.3d 832 (7th Cir. 1999); Mace v. Van Ru Credit Corp., 109 F.3d
338, 344 (7th Cir. 1997); McMahon v. LVNV Funding, LLC, 744 F.3d 1010 (7th Cir. 2014)
(mootness); Ballard RN Center, Inc. v. Kohll’s Pharmacy and Homecare, Inc., 2015 IL 118644, 48


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N.E.3d 1060 (Ill.Sup.Ct.) (mootness), and Gordon v. Boden, 224 Ill.App.3d 195, 586 N.E.2d 461
(1st Dist. 1991).

       21.     Landlord-tenant: The firm has brought more than 20 class actions against
landlords to enforce tenants’ rights. Claims include failing to pay interest on security deposits or
commingling security deposits. Reported decisions include Wang v. Williams, 343 Ill. App. 3d 495;
797 N.E.2d 179 (5th Dist. 2003); Dickson v. West Koke Mill Vill. P'Ship, 329 Ill. App. 3d 341; 769
N.E.2d 971 (4th Dist. 2002); and Onni v. Apartment Inv. & Mgmt. Co., 344 Ill. App. 3d 1099; 801
N.E.2d 586 (2nd Dist. 2003).

        22.     Mortgage charges and servicing practices: The firm has been involved in
dozens of cases, mostly class actions, complaining of illegal charges on mortgages and improper
servicing practices. These include MDL-899, In re Mortgage Escrow Deposit Litigation, and MDL-
1604, In re Ocwen Federal Bank FSB Mortgage Servicing Litigation, as well as the Fairbanks
mortgage servicing litigation. Decisions in the firm’s mortgage cases include: Hamm v. Ameriquest
Mortg. Co., 506 F.3d 525 (7th Cir. 2007); Johnson v. Thomas, 342 Ill.App.3d 382, 794 N.E.2d 919
(1st Dist. 2003); Handy v. Anchor Mortgage Corp., 464 F.3d 760 (7th Cir. 2006); Christakos v.
Intercounty Title Co., 196 F.R.D. 496 (N.D.Ill. 2000); Flippin v. Aurora Bank, FSB, 12 C 1996, 2012
WL 3260449 , 2012 U.S. Dist. LEXIS 111250 (N.D.Ill. Aug. 8, 2012); Kesten v. Ocwen Loan
Servicing, LLC, 11 C 6981, 2012 WL 426933, 2012 U.S. Dist. LEXIS 16917 (N.D.Ill. Feb. 9,
2012); Johnstone v. Bank of America, N.A., 173 F.Supp.2d 809 (N.D.Ill. 2001); Leon v. Washington
Mut. Bank, F.A., 164 F.Supp.2d 1034 (N.D.Ill. 2001); Williamson v. Advanta Mortg. Corp., 99 C
4784, 1999 WL 1144940, 1999 U.S. Dist. LEXIS 16374 (N.D.Ill., Oct. 5, 1999); McDonald v.
Washington Mut. Bank, F.A., 99 C 6884, 2000 WL 875416, 2000 U.S. Dist. LEXIS 11496 (N.D.Ill.,
June 22, 2000); GMAC Mtge. Corp. v. Stapleton, 236 Ill.App.3d 486, 603 N.E.2d 767 (1st Dist.
1992), leave to appeal denied, 248 Ill.2d 641, 610 N.E.2d 1262 (1993); Leff v. Olympic Fed. S. &
L. Ass'n, 86 C 3026, 1986 WL 10636 (N.D.Ill. Sept. 19, 1986); Aitken v. Fleet Mtge. Corp., 90 C
3708, 1991 WL 152533,, 1991 U.S.Dist. LEXIS 10420 (N.D.Ill. July 30, 1991), later opinion, 1992
WL 33926, 1992 U.S.Dist. LEXIS 1687 (N.D.Ill., Feb. 12, 1992); Poindexter v. National Mtge.
Corp., 94 C 45814, 1995 WL 242287, 1995 U.S.Dist. LEXIS 5396 (N.D.Ill., April 24, 1995);
Sanders v. Lincoln Service Corp., 91 C 4542, 1993 WL 1125433, 1993 U.S.Dist. LEXIS 4454
(N.D.Ill. April 5, 1993); Robinson v. Empire of America Realty Credit Corp., 90 C 5063, 1991 WL
26593, 1991 U.S.Dist. LEXIS 2084 (N.D.Ill., Feb. 20, 1991); In re Mortgage Escrow Deposit
Litigation, M.D.L. 899, 1994 WL 496707, 1994 U.S.Dist. LEXIS 12746 (N.D.Ill., Sept. 9, 1994);
Greenberg v. Republic Federal S. & L. Ass'n, 94 C 3789, 1995 WL 263457, 1995 U.S.Dist. LEXIS
5866 (N.D.Ill., May 1, 1995).

       23.    The recoveries in the escrow overcharge cases alone are over $250 million. Leff
was the seminal case on mortgage escrow overcharges.

        24.     The escrow litigation had a substantial effect on industry practices, resulting in
limitations on the amounts which mortgage companies held in escrow.

        25.    Bankruptcy: The firm brought a number of cases complaining that money was
being systematically collected on discharged debts, in some cases through the use of invalid
reaffirmation agreements, including the national class actions against Sears and General Electric.
Conley v. Sears, Roebuck, 1:97cv11149 (D.Mass); Fisher v. Lechmere Inc., 1:97cv3065 (N.D.Ill.).
These cases were settled and resulted in recovery by nationwide classes. Cathleen Combs
successfully argued the first Court of Appeals case to hold that a bankruptcy debtor induced to pay
a discharged debt by means of an invalid reaffirmation agreement may sue to recover the payment.
Bessette v. Avco Financial Services, 230 F.3d 439 (1st Cir. 2000).


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       26.     Automobile sales and financing practices: The firm has brought many
cases challenging practices relating to automobile sales and financing, including:

             a.      Hidden finance charges resulting from pass-on of discounts on auto
purchases. Walker v. Wallace Auto Sales, Inc., 155 F.3d 927 (7th Cir. 1998).

               b.      Misrepresentation of amounts disbursed for extended warranties. Taylor
v. Quality Hyundai, Inc., 150 F.3d 689 (7th Cir. 1998); Grimaldi v. Webb, 282 Ill.App.3d 174, 668
N.E.2d 39 (1st Dist. 1996), leave to appeal denied, 169 Ill.2d 566 (1996); Slawson v. Currie Motors
Lincoln Mercury, Inc., 94 C 2177, 1995 WL 22716, 1995 U.S.Dist. LEXIS 451 (N.D.Ill., Jan. 13,
1995); Cirone-Shadow v. Union Nissan, Inc., 955 F.Supp. 938 (N.D.Ill. 1997) (same); Chandler
v. Southwest Jeep-Eagle, Inc., 162 F.R.D. 302 (N.D.Ill. 1995); Shields v. Lefta, Inc., 888 F. Supp.
891 (N.D.Ill. 1995).

                c.     Spot delivery. Janikowski v. Lynch Ford, Inc., 98 C 8111, 1999 WL
608714 (N.D.Ill., Aug. 5, 1999); Diaz v. Westgate Lincoln Mercury, Inc., 93 C 5428, 1994 U.S.Dist.
LEXIS 16300 (N.D.Ill. Nov. 14, 1994); Grimaldi v. Webb, 282 Ill.App.3d 174, 668 N.E.2d 39 (1st
Dist. 1996), leave to appeal denied, 169 Ill.2d 566 (1996).

               d.      Force placed insurance. Bermudez v. First of America Bank Champion,
N.A., 860 F.Supp. 580 (N.D.Ill. 1994); Travis v. Boulevard Bank, 93 C 6847, 1994 U.S.Dist. LEXIS
14615 (N.D.Ill., Oct. 13, 1994), modified, 880 F.Supp. 1226 (N.D.Ill. 1995); Moore v. Fidelity
Financial Services, Inc., 884 F. Supp. 288 (N.D.Ill. 1995).

               e.     Improper obligation of cosigners. Lee v. Nationwide Cassell, 174
Ill.2d 540, 675 N.E.2d 599 (1996); Taylor v. Trans Acceptance Corp., 267 Ill.App.3d 562, 641
N.E.2d 907 (1st Dist. 1994), leave to appeal denied, 159 Ill.2d 581, 647 N.E.2d 1017 (1995);
Qualkenbush v. Harris Trust & Sav. Bank, 219 F. Supp. 2d 935 (N.D.Ill. 2002).

              f.      Evasion of FTC holder rule. Brown v. LaSalle Northwest Nat'l Bank, 148
F.R.D. 584 (N.D.Ill. 1993), later opinion, 820 F.Supp. 1078 (N.D.Ill. 1993), later opinion, 92 C
8392, 1993 U.S.Dist. LEXIS 11419 (N.D.Ill., Aug. 13, 1993).

        27.     These cases also had a substantial effect on industry practices. The warranty
cases, such as Grimaldi, Gibson, Slawson, Cirone-Shadow, Chandler, and Shields, resulted in the
Federal Reserve Board's revision of applicable disclosure requirements, so as to prevent car dealers
from representing that the charge for an extended warranty was being disbursed to a third party when
that was not in fact the case.

        28.    Predatory lending practices: The firm has brought numerous cases challenging
predatory mortgage and "payday" lending practices, both as individual and class actions. Jackson v.
Payday Financial LLC, 764 F.3d 765 (7th Cir. 2014), cert. denied, 135 S.Ct. 1894 (2015);
Livingston v. Fast Cash USA, Inc., 753 N.E.2d 572 (Ind. Sup. Ct. 2001); Williams v. Chartwell Fin.
Servs., 204 F.3d 748 (7th Cir. 2000); Hamm v. Ameriquest Mortg. Co., 506 F.3d 525 (7th Cir. 2007);
Handy v. Anchor Mortg. Corp., 464 F.3d 760 (7th Cir. 2006); Laseter v. Climateguard Design &
Installation LLC, 931 F.Supp.2d 862 (N.D.Ill. 2013); Hubbard v. Ameriquest Mortg. Co., 624
F.Supp.2d 913 (N.D.Ill. 2008); Martinez v. Freedom Mortg. Team, Inc., 527 F. Supp. 2d 827
(N.D.Ill. 2007); Pena v. Freedom Mortg. Team, Inc., 07 C 552, 2007 WL 3223394, 2007 U.S. Dist.
LEXIS 79817 (N.D.Ill., October 24, 2007); Miranda v. Universal Fin. Group, Inc., 459 F. Supp. 2d
760 (N.D.Ill. 2006); Parker v. 1-800 Bar None, a Financial Corp., Inc., 01 C 4488,
2002 WL 215530 (N.D.Ill., Feb. 12, 2002); Gilkey v. Central Clearing Co., 202 F.R.D. 515
(E.D.Mich. 2001); Van Jackson v. Check ‘N Go of Illinois, Inc., 193 F.R.D. 544 (N.D.Ill. 2000),

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later opinion, 114 F. Supp. 2d 731 (N.D.Ill. 2000), later opinion, 123 F. Supp. 2d 1079 (N.D.Ill.
2000), later opinion, 123 F. Supp. 2d 1085 (N.D.Ill. 2000); Henry v. Cash Today, Inc.,
199 F.R.D. 566 (S.D.Tex. 2000); Donnelly v. Illini Cash Advance, Inc., 00 C 94, 2000 WL 1161076,
2000 U.S. Dist. LEXIS 11906 (N.D.Ill., Aug. 14, 2000); Jones v. Kunin, 99-818-GPM, 2000 WL
34402017, 2000 U.S. Dist. LEXIS 6380 (S.D.Ill., May 1, 2000); Davis v. Cash for Payday, 193
F.R.D. 518 (N.D.Ill. 2000); Reese v. Hammer Fin. Corp., 99 C 716, 1999 U.S. Dist. LEXIS 18812,
1999 WL 1101677 (N.D.Ill., Nov. 29, 1999); Pinkett v. Moolah Loan Co., 99 C 2700, 1999 WL
1080596, 1999 U.S. Dist. LEXIS 17276 (N.D.Ill., Nov. 1, 1999); Gutierrez v. Devon Fin. Servs., 99
C 2647, 1999 U.S. Dist. LEXIS 18696 (N.D.Ill., Oct. 6, 1999); Vance v. National Benefit Ass'n, 99
C 2627, 1999 WL 731764, 1999 U.S. Dist. LEXIS 13846 (N.D.Ill., Aug. 26, 1999).

        29.   Other consumer credit issues: The firm has also brought a number of other
Truth in Lending and consumer credit cases, mostly as class actions, involving such issues as:

               a.    Phony nonfiling insurance. Edwards v. Your Credit Inc., 148 F.3d 427
(5th Cir. 1998); Adams v. Plaza Finance Co., 168 F.3d 932 (7th Cir. 1999); Johnson v. Aronson
Furniture Co., 96 C 117, 1997 U.S. Dist. LEXIS 3979 (N.D.Ill., March 31, 1997), later opinion,
1993 WL 641342 (N.D.Ill., Sept. 11, 1998).

                b.     The McCarran Ferguson Act exemption. Autry v. Northwest Premium
Services, Inc., 144 F.3d 1037 (7th Cir. 1998).

               c.     Loan flipping. Emery v. American General, 71 F.3d 1343 (7th Cir. 1995).
Emery limited the pernicious practice of "loan flipping," in which consumers are solicited for new
loans and are then refinanced, with "short" credits for unearned finance charges and insurance
premiums being given through use of the "Rule of 78s."

                d.     Home improvement financing practices. Fidelity Financial Services, Inc.
v. Hicks, 214 Ill.App.3d 398, 574 N.E.2d 15 (1st Dist. 1991), leave to appeal denied, 141 Ill.2d 539,
580 N.E.2d 112; Heastie v. Community Bank of Greater Peoria, 690 F.Supp. 716 (N.D.Ill. 1989),
later opinion, 125 F.R.D. 669 (N.D.Ill. 1990), later opinions, 727 F.Supp. 1133 (N.D.Ill. 1990), and
727 F.Supp. 1140 (N.D.Ill. 1990).

                e.    Insurance packing. Elliott v. ITT Corp., 764 F.Supp. 102 (N.D.Ill. 1990),
later opinion, 150 B.R. 36 (N.D.Ill. 1992).

        30.    Automobile leases: The firm has brought a number of a cases alleging illegal
charges and improper disclosures on automobile leases, mainly as class actions. Decisions in these
cases include Lundquist v. Security Pacific Automotive Financial Services Corp., 993 F.2d 11 (2d
Cir. 1993); Kedziora v. Citicorp Nat'l Services, Inc., 780 F.Supp. 516 (N.D.Ill. 1991), later opinion,
844 F.Supp. 1289 (N.D.Ill. 1994), later opinion, 883 F.Supp. 1144 (N.D.Ill. 1995), later opinion, 91
C 3428, 1995 U.S.Dist. LEXIS 12137 (N.D.Ill., Aug. 18, 1995), later opinion, 1995 U.S.Dist.
LEXIS 14054 (N.D.Ill., Sept. 25, 1995); Johnson v. Steven Sims Subaru and Subaru Leasing, 92 C
6355, 1993 WL 761231, 1993 U.S.Dist. LEXIS 8078 (N.D.Ill., June 9, 1993), and 1993 WL
13074115, 1993 U.S.Dist. LEXIS 11694 (N.D.Ill., August 20, 1993); McCarthy v. PNC Credit
Corp., 2:91CV00854 (PCD), 1992 U.S.Dist. LEXIS 21719 (D.Conn., May 27, 1992); Highsmith v.
Chrysler Credit Corp., 18 F.3d 434 (7th Cir. 1994); Simon v. World Omni Leasing Inc., 146 F.R.D.
197 (S.D.Ala. 1992).

       31.     Lundquist and Highsmith are leading cases; both held that commonly-used lease



                                                 10
forms violated the Consumer Leasing Act. As a result of the Lundquist case, the Federal Reserve
Board completely revamped the disclosure requirements applicable to auto leases, resulting in vastly
improved disclosures to consumers.

         32.    Insurance litigation: Often securing recovery for a class requires enforcement of
the rights under the defendant’s insurance policy. The firm has extensive experience with such
litigation. Reported decisions in such cases include: Record-A-Hit, Inc. v. Nat'l Fire Ins. Co., 377
Ill. App. 3d 642; 880 N.E.2d 205 (1st Dist. 2007); Pietras v. Sentry Ins. Co., 06 C 3576, 2007 WL
715759, 2007 U.S. Dist. LEXIS 16015 (N.D.Ill., March 6, 2007), later opinion, 513 F. Supp. 2d 983
(N.D.Ill. 2007); Auto-Owners Ins. Co. v. Websolv Computing, Inc., 06 C 2092, 2007 WL 2608559,
2007 U.S. Dist. LEXIS 65339 (N.D.Ill., Aug. 31, 2007); National Fire Ins. Co. v. Tri-State Hose &
Fitting, Inc., 06 C 5256, 2007 U.S. Dist. LEXIS 45685 (N.D.Ill., June 21, 2007); Nautilus Ins. Co.
v. Easy Drop Off, LLC, 06 C 4286, 2007 U.S. Dist. LEXIS 42380 (N.D.Ill., June 4, 2007).

        33.     Some of the other reported decisions in our cases include: Elder v. Coronet Ins.
Co., 201 Ill.App.3d 733, 558 N.E.2d 1312 (1st Dist. 1990); Smith v. Keycorp Mtge., Inc., 151 B.R.
870 (N.D.Ill. 1992); Gordon v. Boden, 224 Ill.App.3d 195, 586 N.E.2d 461 (1st Dist. 1991), leave
to appeal denied, 144 Ill.2d 633, 591 N.E.2d 21, cert. denied, U.S. (1992); Armstrong v. Edelson,
718 F.Supp. 1372 (N.D.Ill. 1989); Newman v. 1st 1440 Investment, Inc., 89 C 6708, 1993 U.S.Dist.
LEXIS 354 (N.D.Ill. Jan. 15, 1993); Mountain States Tel. & Tel. Co., v. District Court, 778 P.2d 667
(Colo. 1989); Harman v. Lyphomed, Inc., 122 F.R.D. 522 (N.D.Ill. 1988); Haslam v. Lefta, Inc., 93
C 4311, 1994 WL 117463, 1994 U.S.Dist. LEXIS 3623 (N.D.Ill., March 25, 1994); Source One
Mortgage Services Corp. v. Jones, 88 C 8441, 1994 WL 13664, 1994 U.S.Dist. LEXIS 333 (N.D.Ill.,
Jan. 13, 1994); Wilson v. Harris N.A., 06 C 5840, 2007 WL 2608521, 2007 U.S. Dist. LEXIS 65345
(N.D.Ill. Sept. 4, 2007). Wendorf v. Landers, 755 F.Supp.2d 972 (N.D.Ill. 2010); QuickClick Loans
LLC v. Russell, 407 Ill.App.3d 46; 943 N.E.2d 166 (1st Dist. 2011), pet. denied, 949 N.E.2d 1103
(2011) and Adkins v. Nestle Purina Petcare Co., 973 F.Supp.2d 905 (N.D.Ill. 2013).

        34.    Gordon v. Boden is the first decision approving "fluid recovery" in an Illinois
class action. Elder v. Coronet Insurance held that an insurance company's reliance on lie detectors
to process claims was an unfair and deceptive trade practice.

        35.     The hourly rates for the attorneys set forth below, are the same as the regular
current rates charged for their services in other contingent matters in class action litigation. They
are also consistent with fees charged to occasional hourly paying clients. The firm adjusts them
annually to account for inflation and increasing experience and they are consistent with the rates
charged by attorneys of comparable experience and expertise in the Chicago area. The rates listed
and used in this case represent rates previously approved in a number of cases plus an annual
adjustment.

       36.     Examples of the approval of counsel’s rates include:

               a.    The rates charged by Edelman, Combs, Latturner & Goodwin, LLC were
used as a benchmark by Judge Kennelly in In re Southwest Airlines Voucher Litigation, No. 11 C
8176, 2013 WL 5497275 (N.D.Ill., Oct. 3, 2013), at 19-20:

       In particular, the Court has reviewed fee awards approved for the law firm of Edelman,
       Combs, Latturner & Goodwin, a Chicago law firm that has a long-established practice in the
       same field as Siprut, PC, the firm representing the plaintiff class in this case. Here are some
       examples. In Jablonski v. Riverwalk Holdings, Ltd., No. 11 C 840, 2012 WL 3043687, at *1
       (N.D. Ill. July 12, 2012), Judge Blanche Manning approved rates of $400 per hour for work
       done in 2011 by attorneys Daniel Edelman, Catherine Combs, and James Latturner, who had,

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       respectively, thirty-six, thirty-six, and fifty years of practice experience. Id. at *1. In 2009,
       in the case of In re Trans Union Corp. Privacy Litig., No. 00 C 4729, 2009 WL 4799954,
       at *20 (N.D. Ill. Dec. 9, 2009), Judge Robert Gettleman appears to have okayed a $550 rate
       for attorney Edelman. That same year, in Jones v. Ameriquest Mortg. Co., No. 05 C 432,
       2009 WL 631617, at *4 (N.D. Ill. Mar. 10, 2009), Judge David Coar approved rates of $465
       per hour for partners Latturner, Combs, and Tara Goodwin, and a rate of $250 per hour for
       an associate who was six or seven years out of law school during the relevant period. In
       2008, Judge Sam Der-Yeghiayan approved rates of $450 per hour for partners at the Edelman
       firm and $210 per hour for the same associate. See Hamm v. Ameriquest Mortg. Co., 549 F.
       Supp. 2d 1018, 1022 (N.D. Ill. 2008).

       On September 25, 2013, the Court considered a fee award (a very modest one) in a case
       brought by the Edelman firm in which it obtained a default judgment. That firm submitted
       a very comprehensive affidavit by its lead partner, Daniel Edelman, supporting the following
       hourly rates claimed for each of its partners and associates:

       - $550 for partners Edelman (thirty-seven years of experience), Combs (thirty-seven years),
       and Latturner (fifty-one years);

       - $505 for partner Goodwin (twenty-two years);

       - $445 for partner Julie Clark (thirteen years);

       - $400 for partner Heather Kolbus (eleven years);

       - $355 for a partner with ten years experience;

       - $230 to $290 for associates; and

       - $100 to $125 for paralegals.

       See Quazi v. Lizetty and Assoc. Grp. LLC, Case No. 13 C 4512, dkt. no. 19-5 (affid. of
       Daniel Edelman). This Court's own experience in dealing with fee awards (mostly agreed-
       upon awards) in consumer cases is generally consistent with a range bracketed on the higher
       end by the hourly rates proposed for lawyers from the Edelman firm in the Quazi case and,
       at the lower end, with the awards approved by Judges Der-Yeghiayan, Coar, and Gettleman
       in the cases cited earlier. The latter are, at this point, several years old, indicating that they
       may not actually represent appropriate current rates. . . .

             b.     The rates of $700 for Daniel A. Edelman was approved in Manuel v. Caliber
Home Loans, Inc., 14-5233-SRC-CLW (D. N.J. on August 20, 2015. The order is attached as
Appendix A.

                c.     Rates of $550 for Daniel A. Edelman and $230 for Cassandra P. Miller
were approved in Nadyenova v. Midland Funding, et al., 12-cv-632 (N.D.Ill.), on July 11, 2012. The
order is attached as Appendix B.

              d.     Rates of $550 for Daniel A. Edelman, James O. Latturner and Cathleen M.
Combs, $400 for former partner, Michelle R. Teggelaar, and $250 for former associate Jeremy P.
Monteiro were requested in the Plaintiff’s Final Approval Memorandum and approved in Bruce v.
Wells Fargo Bank, 2:05cv243 (N.D.Ind.), on October 18, 2007 (Transcript of proceedings,
Appendix C).

                                                  12
               e.     A rate of $325 for Ms. Hardy was approved by the Honorable Arthur D.
Spatt at a fairness hearing in the Eastern District of New York in 2014, Altagracia Diaz v.
Residential Credit Solutions, 12-cv-03781 (Appendix D).

       37.     In determining the rates charged by the firm charges and requests, counsel
consults surveys of rates charged by other Chicago law firms. Such surveys have been relied upon
by courts in awarding fees. E.g., FDIC v. Morris, 1992 U.S. Dist. LEXIS 9439 (N.D.Ill., June 29,
1992); Alliance to End Repression v. City of Chicago, 1993 U.S. Dist. LEXIS 1972 (N.D.Ill., Feb.
22, 1993).

       38.     I am reasonably confident that the rates are accurate, based on my personal
knowledge of rates in the legal community, court awards, negotiations with defendants, and
discussions with other attorneys.

        39.   The rates we used are also consistent with fee awards by courts in this or
other comparable areas for comparable work:

                a.      In Harris N.A. v. Acadia Investments, 09 C 6661, 2012 WL 1681985
(N.D.Ill., May 14, 2012) (Schenkier, M.J.), a commercial dispute in which the fees paid by plaintiff
were shifted to the defendant pursuant to a contractual provision, the court awarded $775/ hour for
a 1984 partner, $745/ hour for a 1985 partner, $700/ hour for a 1992 partner, and $570/ hour for a
1995 partner. Copies of the affidavits establishing these rates are in Appendix E.
                b.      In Winston v. O’Brien, 10 C 8218, 2013 WL 2897161 (N.D.Ill., June
13, 2013) (Bucklo, J.), a police excessive force case, court awarded $535/ hour for lead counsel,
$450/ hour for a 1994 graduate, $225/ hour for a second year associate, and $125 /hour for paralegal
work.
                c.      In McDonough v. Briatta, 06 C 2732, 2013 WL 1303800 (N.D.Ill.,
March 27, 2013) (Pallmeyer, J.), a First Amendment retaliation claim, the court awarded $500/ hour
for 1964 and 1984 partners, $450/ hour for a 1993 graduate, $425/ hour for a 1999 graduate, $400/
hour for a 2001 graduate, $285/ hour for 2006 and 2007 graduates, and $100/ hour for paralegal time.
                d.      In Scott v. Illinois Youth Center Joliet, 09 C 1633, 2011 WL 586408
 (N.D.Ill., Feb. 9, 2011), an individual employment discrimination case, Magistrate Judge Brown
awarded $100/ hour for paralegal time, $250/ hour for an associate with 5 years experience, and
$285-$390/ hour for attorneys with 12-18 years experience, noting that only limited justification had
been provided.
                e.      In Richardson v. City of Chicago, 08 C 4824, 2012 WL 6185867
(N.D.Ill., Nov. 20, 2012) (Cole, M.J.), a police misconduct case, the court approved rates of $425/
hour for an attorney with 17 years experience, $400/ hour for an attorney with 9 years experience,
$300/ hour for an attorney with 7 years experience, and $175/ hour for a second year associate.
                f.      In Covington v. District of Columbia, 839 F. Supp. 894 (D.D.C.,
December 13, 1993), Judge Lamberth found, on the basis of court-approved surveys of rates in the
Washington, D.C., area, that it was appropriate to award $260 per hour to attorneys with between
11 and 19 years experience for the time period 1992-93. He further found that it was appropriate to
have an annual increment of $10 per year or, alternatively, to multiply by 103.4% in accordance with
the Consumer Price Index (the result is approximately the same). He also noted that it had been
relied upon by six other District Judges in the District of Columbia and the Court of Appeals for the
District of Columbia Circuit. Judge Lamberth awarded current rates for all work done in the past,
in lieu of making the award at the then-current rate and awarding interest on it.
                g.      The figures used in the Covington case have been updated each year by
the office of the U. S. Attorney for the District of Columbia. The updated figures (through 2017)
are in the chart attached as Appendix F, available on the Internet site of the U. S Attorney’s office
(“Laffey Matrix”, after Laffey v. Northwest Airlines, Inc., 572 F.Supp. 354 (D.D.C. 1983)).

                                                 13
       40.      The usual rates which I and the others in my firm charge at the present time are as
follows:

                a.     Daniel Edelman, Cathleen Combs, and James Latturner (partners):
$700 an hour;

                b.     Tara Goodwin (partner): $600 an hour;

                c.     Julie Clark (partner): $500 an hour;

                d.     Heather Kolbus (partner): $500 an hour;

                e.     Cassandra P. Miller (partner): $450 an hour;

                f.     Tiffany N. Hardy (partner): $450 an hour;

                g.     Associates: $230 to 250 an hour;

                j.     Paralegals: $100-$125 an hour (based upon experience).

        41.     All attorneys and legal assistants in my firm are required to and do in fact
keep track of their time on a contemporaneous basis, on computer. Everyone enters their time into
a computer program, by case number. The computer system automatically sorts the entries by case
and generates totals. Expenses are entered into the same computer program as they are incurred. The
printouts for this case are attached as Appendix G and Appendix H..




Executed at Chicago, Illinois.


                                              /s/ Daniel A. Edelman
                                              Daniel A. Edelman

EDELMAN, COMBS, LATTURNER & GOODWIN, LLC
20 S. Clark Street, Suite 1500
Chicago, Illinois 60603
(312) 739-4200
(312) 419-0379 (FAX)




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                                                                     20 S. Clark Street
                                                                     Suite 1500
                                                                     Chicago, IL 60603-3403




,                                                                                        Date:   2/13/2019



Regarding: FIRSTSOURCE ADVANTAGE, LLC V NAVARROLLI, NIC
Invoice No: 00091

Services Rendered
Date        Staff       Description                                      Hours          Rate       Charges
7/17/2017   DAE         work on complaint                                 1.00       $700.00       $700.00

7/18/2017   DAE         work on class papers                               1.00      $700.00        $700.00

7/19/2017   AL          Prepared appearances and civil cover               0.30      $125.00         $37.50
                        sheet

7/19/2017   AL          Prepared summons                                   0.20      $125.00         $25.00

7/19/2017   AL          Forwarded emial to PNJ from client                 0.10      $125.00         $12.50

7/19/2017   AL          Organized docs sent initial docs to                0.30      $125.00         $37.50
                        client for approval

7/19/2017   JOL         work on complaint                                  0.40      $700.00        $280.00

7/19/2017   PNJ         Conf with JOL reviewing the complaint.             0.20      $230.00         $46.00

7/19/2017   PNJ         Email reply to CL regarding complaint.             0.10      $230.00         $23.00

7/19/2017   PNJ         Review and CONF with DAE and JOL                   0.30      $230.00         $69.00
                        regarding complaint.

7/19/2017   PNJ         Email response to CL.                              0.10      $230.00         $23.00

7/20/2017   FRG         conf. PNJ re: nature of the case; getting          0.40      $500.00        $200.00
                        the case filed

7/20/2017   PNJ         CONF with FRG and JOL to review                    0.20      $230.00         $46.00
                        case file before filing

7/20/2017   PNJ         Edited complaint. Asked RU to send                 0.60      $230.00        $138.00
                        final version to CL for his review and set
                                                            Edelman, Combs, Latturner & Goodwin LLC
                                                                                      Page No.:   2

                  up a call with FRG and myself.


7/21/2017   FRG   tc client re: approval of the complaint           1.00      $500.00        $500.00

7/21/2017   PNJ   PC with FRG to CL to get approval for             0.70      $230.00        $161.00
                  class complaint

7/21/2017   PNJ   CONF with FRG to to discuss phone                 0.20      $230.00         $46.00
                  call with CL and Westlaw docket
                  search

7/25/2017   RU    Docket Complaint Dates                            0.30      $125.00         $37.50

7/25/2017   RU    Organize Files to Create Binder                   0.50      $125.00         $62.50

7/25/2017   RU    Sent Summons to Clerk, Via E-                     0.80      $125.00        $100.00
                  mail.Save documents filed on 7/21/17 to
                  TM, Print and Prepare CC for Judge

8/11/2017   FRG   tc Manny Newburger re: settlement                 0.30      $500.00        $150.00

9/25/2017   RU    Investigating Docket Dates                        0.10      $125.00         $12.50

10/19/2017 FRG    reviewed status of case; e-mailed                 0.20      $500.00        $100.00
                  Manny Newberger re: scheduling Rule
                  26f conference

10/23/2017 FRG    e-mailed Manny Newburger re:                      0.10      $500.00         $50.00
                  scheduling Rule 26(f) conference

10/24/2017 FRG    Rule 26 conf with Manny Newburger                 0.60      $500.00        $300.00

10/24/2017 PNJ    PC with FRG from OC.                              0.40      $230.00         $92.00

11/13/2017 FRG    conf. DAE, CMC re: claim for actual               0.30      $500.00        $150.00
                  damages

11/14/2017 FRG    tc Manny Newburger (l/m) re:                      0.20      $500.00        $100.00
                  settlement

11/16/2017 FRG    lt Manny Newburger re: settlement                 0.20      $500.00        $100.00

11/22/2017 FRG    began working on a settlement demand;             0.40      $500.00        $200.00
                  e-mailed Manny Newburger for
                  additional information related to the
                  classes

11/30/2017 IL     draft from model Rule 26 (a) 1                    0.20      $125.00         $25.00
                  Disclosures
                                                         Edelman, Combs, Latturner & Goodwin LLC
                                                                                   Page No.:   3



11/30/2017 IL    Worked on Discovery draft                       0.20      $125.00         $25.00

12/01/2017 IL    Draft Plaintiff's Discovery Requests for        1.30      $125.00        $162.50
                 Lvnv, Resurgent, Alegis, and Fristsource

12/03/2017 FRG   Worked on Rule 26a1 disclosures                 0.10      $500.00         $50.00

12/04/2017 FRG   conf. DAE re: completing Rule 26a1              0.20      $500.00        $100.00
                 disclosures

12/04/2017 PNJ   drafted Rule 26a1                               2.40      $230.00        $552.00

12/04/2017 PNJ   CONF with FRG.                                  0.30      $230.00         $69.00

12/05/2017 PNJ   Drafted Rule 26(a)(1) Disclosures               2.10      $230.00        $483.00

12/05/2017 PNJ   CONF with FRG.                                  0.10      $230.00         $23.00

12/05/2017 PNJ   Edited Rule 26(a)(1)s.                          0.40      $230.00         $92.00

12/06/2017 FRG   reviewed, edited draft Rule 26a1                0.30      $500.00        $150.00
                 disclosures

12/06/2017 FRG   tc Manny Newburger re: Judge Cox's              0.10      $500.00         $50.00
                 order; settlement

12/06/2017 PNJ   CONF with FRG to discuss changes to             0.10      $230.00         $23.00
                 Rule 26(a)(1) disclosures.

12/06/2017 PNJ   Edited Rule 26(a)(1)s.                          0.80      $230.00        $184.00

12/07/2017 PNJ   Drafted joint report.                           1.60      $230.00        $368.00

12/08/2017 FRG   conf PNJ re: Joint Status Report for            0.10      $500.00         $50.00
                 Judge Cox

12/08/2017 FRG   reviewed, edited draft initial status           0.40      $500.00        $200.00
                 report

12/08/2017 IL    docket memo per email                           0.10      $125.00         $12.50

12/08/2017 PNJ   CONF with FRG.                                  0.10      $230.00         $23.00

12/08/2017 PNJ   Re-drafted joint status report.                 3.00      $230.00        $690.00

12/08/2017 PNJ   CONF with FRG.                                  0.20      $230.00         $46.00

12/08/2017 PNJ   Edited joint report.                            0.50      $230.00        $115.00
                                                           Edelman, Combs, Latturner & Goodwin LLC
                                                                                     Page No.:   4


12/08/2017 PNJ   Email to OC.                                      0.10      $230.00         $23.00

12/08/2017 PNJ   Finished drafting joint report.                   1.30      $230.00        $299.00

12/11/2017 DP    Make edits to Plaintiff's Rule 26(a)(1)           0.20      $125.00         $25.00
                 Disclosures

12/11/2017 DP    email OC Plaintiff's 26(a)(1) disclosures         0.10      $125.00         $12.50

12/11/2017 FRG   reviewed, edited Rule 26(a)(1)                    0.10      $500.00         $50.00
                 disclosures

12/13/2017 FRG   reviewed Manny Newburger's revisions              0.30      $500.00        $150.00
                 to the joint status report; made
                 additional edits; e-mailed Newburger re:
                 same

12/14/2017 RU    Sent CC to Judge Cox                              0.10      $125.00         $12.50

12/15/2017 FRG   reviewed letter from Manny Newburger              0.10      $500.00         $50.00
                 re: settlement

12/15/2017 IL    saved OC email to TM                              0.10      $125.00         $12.50

12/15/2017 IL    saved D's Rule 26 a1 Disclsoures to Tm            0.10      $125.00         $12.50

12/15/2017 IL    logged D’s Rule 26(a)(1) Disclosures              0.10      $125.00         $12.50

12/15/2017 IL    logged Letter/Email from OC Barron &              0.10      $125.00         $12.50
                 Newburger

12/15/2017 IL    printed status report and placed on               0.20      $125.00         $25.00
                 FRG chair

12/15/2017 IL    listedn to VM from FRG and email back             0.30      $125.00         $37.50

12/18/2017 FRG   court: initial status hearing before Judge        0.50      $500.00        $250.00
                 Cox

12/18/2017 FRG   reviewed, edited Consent to Magistrate            0.20      $500.00        $100.00
                 Form; e-mailed Manny Newburger re:
                 same

12/18/2017 FRG   conf. Manny Newburger re: settlement              1.00      $500.00        $500.00

12/18/2017 PNJ   Attended court status hearing.                    0.90      $230.00        $207.00

12/18/2017 PNJ   CONF with FRG.                                    0.10      $230.00         $23.00
                                                         Edelman, Combs, Latturner & Goodwin LLC
                                                                                   Page No.:   5


12/18/2017 PNJ    Magistrate Consent form.                       0.20      $230.00         $46.00

12/19/2017 FRG    reviewed Credit One Bank Arbitration           0.20      $500.00        $100.00
                  Clause; e-mailed Manny Newburger re:
                  same

12/19/2017 PNJ    Review magistrate consent form before          0.10      $230.00         $23.00
                  filing.

12/19/2017 PNJ    Reviewed email from court. Docket.             0.10      $230.00         $23.00

1/03/2018   FRG   e-mailed Manny Newburger re: class             0.10      $500.00         $50.00
                  issues

1/16/2018   FRG   tc Corinne Heggie re: status hearing on        0.10      $500.00         $50.00
                  1/17/18

1/17/2018   FRG   court: status hearing; CASR                    0.80      $500.00        $400.00

1/18/2018   JE    logged                                         0.10      $125.00         $12.50

1/19/2018   IL    logging MINUTE Court Entry                     0.10      $125.00         $12.50

1/26/2018   PNJ   Read email from CL.                            0.10      $230.00         $23.00

1/26/2018   PNJ   Read email from DAE.                           0.10      $230.00         $23.00

1/26/2018   PNJ   CONF with JS.                                  0.10      $230.00         $23.00

2/05/2018   HAK   Conf DAE re call with client                   0.10      $500.00         $50.00

2/14/2018   FRG   tc Manny Newburger re: settlement              0.20      $500.00        $100.00

2/16/2018   FRG   tc Manny Newburger re: settlement;             0.70      $500.00        $350.00
                  circulated Defendants' settlement offer;
                  e-mailed Manny Newburger re:same;
                  conf. PNJ re: status hearing on 2/20

2/16/2018   PNJ   Read email from FRG.                           0.10      $230.00         $23.00

2/16/2018   PNJ   CONF with FRG.                                 0.20      $230.00         $46.00

2/20/2018   PNJ   Prep for court.                                0.20      $230.00         $46.00

2/20/2018   PNJ   Attended court status hearing.                 1.10      $230.00        $253.00

2/20/2018   PNJ   Drafted CASR.                                  0.10      $230.00         $23.00

2/26/2018   IL    logged MINUTE Court Entry                      0.10      $125.00         $12.50
                                                           Edelman, Combs, Latturner & Goodwin LLC
                                                                                     Page No.:   6




3/05/2018   FRG   tc Manny Newburger re: settlement                0.20      $500.00        $100.00

3/06/2018   FRG   reviewed Credit One Bank arb clause;             0.20      $500.00        $100.00
                  conf. DAE re: same

3/08/2018   PNJ   Transfer memo.                                   0.30      $230.00         $69.00

3/14/2018   FRG   exchanged e-mails with Manny                     0.30      $500.00        $150.00
                  Newburger re: settlement; began
                  reviewing arb provision

3/15/2018   FRG   exchanged e-mails with Manny                     1.70      $500.00        $850.00
                  Newburger re: settlement; reviewed arb
                  clauses in four different credit card
                  agreements; drafted settlement
                  demand; conf. DAE, CMC re: same;
                  sent settlement demand to Manny
                  Newburger; tc Manny Newburger re:
                  same; e-mailed Nicholas Navarroli re:
                  same

3/15/2018   PNJ   Drafted motion to withdraw PNJ                   0.20      $230.00         $46.00
                  appearance.

3/15/2018   PNJ   PC to CL to get authority for settlement         0.10      $230.00         $23.00
                  agreement.

3/15/2018   PNJ   CONF with FRG.                                   0.10      $230.00         $23.00

3/15/2018   PNJ   Email to CL and FRG.                             0.10      $230.00         $23.00

3/19/2018   IL    filed Mtn to withdraw PNJ                        0.20      $125.00         $25.00

3/20/2018   CJV   email conf IL re mot to transfer                 0.10      $230.00         $23.00

3/20/2018   FRG   reviewed, edited motion to transfer              0.10      $500.00         $50.00
                  Siddiqi

3/20/2018   IL    courtesy copies preped                           0.20      $125.00         $25.00

3/20/2018   IL    filled appearances for CJV and CPM               0.50      $125.00         $62.50

3/20/2018   IL    filed Mtn to transfer/reasign, drafted           0.90      $125.00        $112.50
                  notice of motion and filed

3/22/2018   FRG   reviewed Siddiqi deposition transcript           0.50      $500.00        $250.00

3/23/2018   FRG   tc client re: settlement                         0.20      $500.00        $100.00
                                                           Edelman, Combs, Latturner & Goodwin LLC
                                                                                     Page No.:   7



4/02/2018   FRG   memo to CMC re: review of settlement             0.20      $500.00        $100.00
                  documents

4/02/2018   IL    printed and saved to tm                          0.40      $125.00         $50.00
                  prelim/settlement documents

4/03/2018   CMC   work on sett agree                               0.50      $700.00        $350.00

4/03/2018   IL    logged Motion by Shabih Siddiqi to               0.10      $125.00         $12.50
                  Reassign Related Case

4/05/2018   IL    logged Notice of Motion by Shabih                0.10      $125.00         $12.50
                  Siddiqi to Reassign Related Case


4/09/2018   IL    added Corinne Heggie to actors                   0.10      $125.00         $12.50

4/10/2018   IL    logged MINUTE entry of 3-28-18                   0.10      $125.00         $12.50

4/10/2018   IL    logged MINUTE entry                              0.10      $125.00         $12.50

4/12/2018   IL    logged Order of the Executive                    0.10      $125.00         $12.50
                  Committee: Finding of Relatedness
                  Pursuant to Local Rule 40.4


4/18/2018   IL    logged MINUTE entry                              0.10      $125.00         $12.50

4/20/2018   IL    logged Notification of Atty address or           0.10      $125.00         $12.50
                  Name Change

4/24/2018   FRG   reviewed draft settlement agreement              0.20      $500.00        $100.00

4/25/2018   FRG   reviewed draft settlement agreement              0.30      $500.00        $150.00

4/25/2018   FRG   reviewed, edited draft settlement                0.10      $500.00         $50.00
                  agreement

5/06/2018   FRG   reviewed, edited draft settlement                2.10      $500.00      $1,050.00
                  agreement; e-mailed redline changes to
                  DAE; Manny Newberger

5/14/2018   FRG   reviewed Manny's comments on the                 0.80      $500.00        $400.00
                  settlement agreement; e-mailed Manny
                  re: same

5/15/2018   FRG   tc Manny Newberger re: settlement                0.50      $500.00        $250.00
                  issues
                                                           Edelman, Combs, Latturner & Goodwin LLC
                                                                                     Page No.:   8


5/15/2018   IMJ   checked on status of case                        0.10      $230.00         $23.00

5/16/2018   CPM   Appear on status for FRG; follow up re           1.00      $325.00        $325.00
                  same

5/25/2018   FRG   reviewed, edited settlement agreement,           0.80      $500.00        $400.00
                  class notice

6/05/2018   FRG   tc Manny Newberger re: additional                0.10      $500.00         $50.00
                  payment for the class

6/12/2018   FRG   revised settlement documents; e-mailed           0.50      $500.00        $250.00
                  Manny Newburger re: final class
                  number

6/13/2018   FRG   edited settlement documents                      2.10      $500.00      $1,050.00

6/14/2018   FRG   Further edited draft settlement                  0.80      $500.00        $400.00
                  documents

6/14/2018   IL    drafted Notice of Motion for Preliminary         0.30      $125.00         $37.50
                  Approval

6/14/2018   IL    logged MINUTE entry                              0.10      $125.00         $12.50

6/15/2018   FRG   tc Manny Newberger re: number of                 0.10      $500.00         $50.00
                  additional class members

7/19/2018   CPM   review settlement documents; follow OC           0.30      $325.00         $97.50
                  re same

7/19/2018   EY    logged minute entry                              0.10      $125.00         $12.50

7/20/2018   CPM   Revisions and review of settlement               3.20      $325.00      $1,040.00
                  documents; email exchange w OC re
                  same; conf DAE re same

7/20/2018   CPM   Email exchange re class settlement def           0.40      $325.00        $130.00

7/23/2018   IMJ   checked status of preliminary approval           0.10      $230.00         $23.00
                  brief

8/15/2018   CPM   Rev all settlement correspondence and            2.80      $325.00        $910.00
                  negotiations; draft mtn to compel; conf
                  OC re same; follow up re same

8/16/2018   CPM   Appear on status; prep for same                  1.00      $325.00        $325.00

8/16/2018   CPM   Conf MN re class size and payment                0.40      $325.00        $130.00
                  issue
                                                           Edelman, Combs, Latturner & Goodwin LLC
                                                                                     Page No.:   9




8/17/2018   CPM   Work on settlement docs                          1.30      $325.00        $422.50

8/17/2018   RW    scanning and saving docs                         0.10      $125.00         $12.50

8/20/2018   CPM   Work on settlement agreement                     2.20      $325.00        $715.00

8/20/2018   CPM   Work on settlement agreement                     0.20      $325.00         $65.00

8/20/2018   EY    docketed CASR 8.16                               0.10      $125.00         $12.50

8/21/2018   CMC   work on sett agree                               0.50      $700.00        $350.00

8/21/2018   CPM   Revisions to agreement; review re                0.90      $325.00        $292.50
                  same; conf CMC re same; email to OC
                  re same

8/22/2018   RW    logging and filing                               0.10      $125.00         $12.50

8/28/2018   CPM   Follow up OC re settlement changes               0.20      $325.00         $65.00

8/28/2018   RW    processing docs                                  0.10      $125.00         $12.50

9/10/2018   CPM   Follow up OC re settlement agreement             0.30      $325.00         $97.50
                  and status

9/13/2018   CPM   Status on settlement                             1.00      $325.00        $325.00

9/14/2018   EY    docketed minute order 9/13                       0.10      $125.00         $12.50

9/19/2018   RW    logging and filing                               0.10      $125.00         $12.50

9/19/2018   RW    logging and filing                               0.10      $125.00         $12.50

9/20/2018   CPM   Drafting class notice                            0.90      $325.00        $292.50

9/24/2018   CPM   Draft, review and revise class notice,           3.20      $325.00      $1,040.00
                  joint motion preliminary approval,
                  preliminary approval order

9/24/2018   CPM   drafting, review and revise final approval       0.60      $325.00        $195.00
                  order, email OC

9/25/2018   CPM   Email exchange w OC re settlement                0.40      $325.00        $130.00
                  docs

9/26/2018   CPM   Review, revise settlement agreement;             1.20      $325.00        $390.00
                  email to OC re same
                                                          Edelman, Combs, Latturner & Goodwin LLC
                                                                                    Page No.: 10


9/26/2018   RW   saving docs                                      0.10      $125.00         $12.50

10/01/2018 CPM   Call to OC re agreement                          0.20      $325.00         $65.00

10/01/2018 CPM   PC OC re change to agreement and                 0.30      $325.00         $97.50
                 proposed Adendum language

10/01/2018 CPM   review and revise addendum                       0.30      $450.00        $135.00

10/01/2018 CPM   Revise and finalize settlement docs for          0.90      $450.00        $405.00
                 filing; email exchange oc; prep for filing

10/01/2018 CPM   Review OC settlement agreement;                  0.40      $325.00        $130.00
                 Review priopr versions; email re same

10/01/2018 RW    processing doc                                   0.10      $125.00         $12.50

10/01/2018 RW    mtn for prelim approval                          1.00      $125.00        $125.00

10/02/2018 EY    docketed ntc of mtn for prelim approval          0.10      $125.00         $12.50

10/02/2018 RW    processing docs                                  0.10      $125.00         $12.50

10/03/2018 CPM   Prep for Prelim Approval Hearing                 0.90      $450.00        $405.00

10/03/2018 RW    logging and filing                               0.10      $125.00         $12.50

10/04/2018 CPM   Revise preliminary approval order with           0.30      $450.00        $135.00
                 dates; email to OC re same

10/04/2018 CPM   Prep for Prelim Approval; Attend Prelim          1.90      $450.00        $855.00
                 Approval; Follow up re deadlines; Email
                 exchange OC re same

10/04/2018 RW    logging and filing                               0.10      $125.00         $12.50

10/04/2018 RW    logging and filing                               0.10      $125.00         $12.50

10/04/2018 PMW   Attend Status hearing with CPM                   0.80      $230.00        $184.00

10/05/2018 EY    dkt minute order 10/4                            0.10      $125.00         $12.50

10/05/2018 EY    Dkt CASR 10/4                                    0.20      $125.00         $25.00

10/05/2018 RW    docketing                                        0.10      $125.00         $12.50

10/10/2018 RW    processed signature sheets, compiled             0.20      $125.00         $25.00
                 settlement, sent to OC
                                                          Edelman, Combs, Latturner & Goodwin LLC
                                                                                    Page No.: 11


10/11/2018 RW    logging and filing                               0.10      $125.00         $12.50

10/12/2018 RW    logging adn filing                               0.10      $125.00         $12.50

10/19/2018 CPM   Finalize order and submit to chambers;           0.30      $450.00        $135.00
                 review file re signed agreement and
                 filings

10/22/2018 RW    filed settlement agreement with court            0.20      $125.00         $25.00

11/14/2018 CPM   Follow up re entry preliminary approval          0.40      $450.00        $180.00

11/15/2018 CPM   Call from OC re prelim approval order;           0.40      $450.00        $180.00
                 review deadlines; email to OC re same

11/19/2018 CPM   Follow up OC re prelim approval order            0.20      $450.00         $90.00
                 dates

11/27/2018 CPM   Review OC proposed motion; conf DAE              0.30      $450.00        $135.00
                 re same; revisions re same; email to
                 OC re same

11/27/2018 CPM   Request exclusion; respond and forward           0.20      $450.00         $90.00
                 to OC; follow up re ame

11/28/2018 CPM   Review OC draft order; response re               0.30      $450.00        $135.00
                 same; review emails re same

11/29/2018 RH    Logging                                          0.10      $125.00         $12.50

12/04/2018 CPM   Mtn to withdraw; review and revise               0.20      $450.00         $90.00

12/04/2018 CPM   Follow up prelim approval order                  0.20      $450.00         $90.00

12/04/2018 CPM   Respond client email                             0.30      $450.00        $135.00

12/04/2018 CPM   review court order; email oc; update             0.30      $450.00        $135.00
                 prelim approval order and send OC;
                 update TM re same

12/04/2018 EY    dkt ntc of mtn to withdraw as counsel            0.10      $125.00         $12.50

12/04/2018 EY    dkt minute order 12/4                            0.10      $125.00         $12.50

12/04/2018 JE    email from CPM, filed, research judge's          0.80      $125.00        $100.00
                 rules, drafted letter, scanned, emailed
                 to OC, prepared copy for judge, docket
                 memo
                                                            Edelman, Combs, Latturner & Goodwin LLC
                                                                                      Page No.: 12


12/04/2018 JE     emails to and from CPM, drafted                   0.40      $125.00         $50.00
                  motiona and notice of moiton

12/05/2018 CPM    Follow up OC re order                             0.20      $450.00         $90.00

12/06/2018 CPM    Email follow up OC re notice; follow up           0.40      $450.00        $180.00
                  call OC re same; conf DAE re same;
                  follow up re same

12/12/2018 CPM    Review and revise class notice with               0.30      $450.00        $135.00
                  dates from OC for administrator; email
                  re same to OC

12/12/2018 EY     dkt memo dates                                    0.30      $125.00         $37.50

12/14/2018 CPM    Review class notice respond to OC                 0.30      $450.00        $135.00

12/17/2018 RH     Logging and Filing                                0.20      $125.00         $25.00

1/11/2019   CPM   Review Sample notice and claim and                0.30      $450.00        $135.00
                  respond

1/15/2019   CPM   Review class list and agreement re                0.30      $450.00        $135.00
                  same

1/31/2019   RW    class call                                        0.10      $125.00         $12.50

1/31/2019   RW    class call                                        0.10      $125.00         $12.50

1/31/2019   RW    class call                                        0.10      $125.00         $12.50

1/31/2019   RW    class calls                                       0.40      $125.00         $50.00

1/31/2019   RW    class call                                        0.10      $125.00         $12.50

1/31/2019   RW    class call                                        0.20      $125.00         $25.00

1/31/2019   RW    class call                                        0.20      $125.00         $25.00

2/01/2019   CPM   Respond class member inquiry                      0.30      $450.00        $135.00

2/01/2019   CPM   Class member inquiry                              0.30      $450.00        $135.00

2/01/2019   CPM   Call from class member                            0.80      $450.00        $360.00

2/01/2019   RW    class calls                                       0.50      $125.00         $62.50

2/01/2019   RW    returning class calls                             0.40      $125.00         $50.00
                                                            Edelman, Combs, Latturner & Goodwin LLC
                                                                                      Page No.: 13


2/01/2019   RW    emailed class member                              0.20      $125.00         $25.00

2/01/2019   RW    emailing, calling class members.                  0.30      $125.00         $37.50

2/01/2019   RW    class call                                        0.10      $125.00         $12.50

2/01/2019   RW    class call                                        0.10      $125.00         $12.50

2/01/2019   RW    class call                                        0.10      $125.00         $12.50

2/01/2019   RW    class calls                                       0.20      $125.00         $25.00

2/01/2019   RW    class calls                                       0.40      $125.00         $50.00

2/04/2019   CPM   Respond class member calls; follow up             0.40      $450.00        $180.00
                  OC re same; follow up class members
                  re same

2/04/2019   EY    pc class member                                   0.20      $125.00         $25.00

2/04/2019   EY    pc class members                                  0.30      $125.00         $37.50

2/04/2019   EY    read/resp to email from rw                        0.10      $125.00         $12.50

2/04/2019   RH    Class member calls                                0.30      $125.00         $37.50

2/04/2019   RW    class call                                        0.10      $125.00         $12.50

2/04/2019   RW    class call                                        0.10      $125.00         $12.50

2/04/2019   RW    calling class members                             0.20      $125.00         $25.00

2/04/2019   RW    class calls                                       0.30      $125.00         $37.50

2/04/2019   RW    class calls                                       0.40      $125.00         $50.00

2/04/2019   RW    class calls                                       0.20      $125.00         $25.00

2/04/2019   RW    class call                                        0.10      $125.00         $12.50

2/05/2019   CPM   Respond to class member question                  0.30      $450.00        $135.00

2/05/2019   CPM   Review paralegal script; edits re same;           0.30      $450.00        $135.00
                  review notice re same

2/05/2019   RH    Class member calls                                0.80      $125.00        $100.00

2/05/2019   RW    drafting and recording class script               0.40      $125.00         $50.00
                                                          Edelman, Combs, Latturner & Goodwin LLC
                                                                                    Page No.: 14


2/05/2019   RW    class calls                                     0.80      $125.00        $100.00

2/05/2019   RW    class call                                      0.10      $125.00         $12.50

2/05/2019   RW    class call                                      0.10      $125.00         $12.50

2/05/2019   RW    class calls                                     0.20      $125.00         $25.00

2/06/2019   RW    class call                                      0.20      $125.00         $25.00

2/06/2019   RW    class call                                      1.00      $125.00        $125.00

2/06/2019   RW    class call(s)                                   0.60      $125.00         $75.00

2/07/2019   RW    class call                                      0.20      $125.00         $25.00

2/07/2019   RW    class calls                                     0.10      $125.00         $12.50

2/08/2019   RH    Class member calls                              0.50      $125.00         $62.50

2/08/2019   RW    class calls.                                    0.20      $125.00         $25.00

2/08/2019   RW    class call                                      0.20      $125.00         $25.00

2/11/2019   RW    class calls                                     0.20      $125.00         $25.00

2/11/2019   RW    class call                                      0.10      $125.00         $12.50

2/11/2019   RW    class call                                      0.10      $125.00         $12.50

2/11/2019   RW    spoke to class member                           0.10      $125.00         $12.50

2/11/2019   RW    reaching out to class members                   0.20      $125.00         $25.00

2/12/2019   CPM   Work prelim fee petition                        0.20      $450.00         $90.00

2/12/2019   CPM   Review Admin Emails and claim forms;            0.40      $450.00        $180.00
                  follow up re handling of same

2/12/2019   CPM   Draft, review and revise Prelim Petition        1.20      $450.00        $540.00
                  fees; final revisions and prep to file

2/12/2019   CPM   Review ECLG fees and expenses re                0.40      $450.00        $180.00
                  redactions; prep materials for filing

2/12/2019   RW    emailed class admin                             0.10      $125.00         $12.50

2/12/2019   RW    calling class members                           0.30      $125.00         $37.50
                                                      Edelman, Combs, Latturner & Goodwin LLC
                                                                                Page No.: 15


2/12/2019    RW   drafting fee petition                       0.30      $125.00         $37.50

2/12/2019    RW   class call                                  0.10      $125.00         $12.50

2/12/2019    RW   following up re class members and           0.30      $125.00         $37.50
                  claim forms

2/12/2019    RW   spoke to class member                       0.20      $125.00         $25.00

2/13/2019    RW   class call                                  0.10      $125.00         $12.50


                                                                      Total Fees    $34,798.00

Expenses
Start Date        Description                                                         Charges
7/17/2017         Print                                                                 $1.65

7/17/2017         Print                                                                  $0.15

7/17/2017         Print                                                                  $1.65

7/17/2017         Print                                                                  $1.50

7/18/2017         Print                                                                  $1.65

7/18/2017         Print                                                                  $0.90

7/18/2017         Print                                                                  $1.65

7/18/2017         Print                                                                  $0.90

7/18/2017         Print                                                                  $1.65

7/18/2017         Print                                                                  $1.95

7/18/2017         Print                                                                  $1.05

7/18/2017         Print                                                                  $0.60

7/18/2017         Print                                                                  $1.65

7/18/2017         Print                                                                  $0.15

7/18/2017         Print                                                                  $1.65

7/18/2017         Print                                                                  $0.75
                                          Edelman, Combs, Latturner & Goodwin LLC
                                                                    Page No.: 16




7/18/2017    Print                                                           $1.05

7/18/2017    Print                                                           $1.65

7/19/2017    Print                                                           $0.45

7/20/2017    Print                                                           $0.90

7/20/2017    Print                                                           $1.65

7/20/2017    Print                                                           $1.80

7/21/2017    Print                                                           $0.30

7/21/2017    Filing Fee-DAE VISA                                           $400.00

7/24/2017    Print                                                           $7.50

7/25/2017    Process server fee-ck#1119                                    $110.00

7/25/2017    Postage                                                         $1.19

7/25/2017    Postage                                                         $6.65

7/25/2017    Print                                                           $0.60

7/25/2017    Print                                                           $0.30

7/25/2017    Print                                                           $2.40

7/25/2017    Print                                                          $30.00

7/27/2017    Filing Fee-DAE VISA                                           $400.00

7/27/2017    Print                                                           $0.30

10/20/2017   Legal research costCK#1317                                      $0.90

10/24/2017   Print                                                           $0.30

10/24/2017   Print                                                           $3.15

11/13/2017   Print                                                           $2.25

12/01/2017   Print                                                           $1.95
                     Edelman, Combs, Latturner & Goodwin LLC
                                               Page No.: 17



12/04/2017   Print                                      $0.75

12/05/2017   Print                                      $0.75

12/05/2017   Print                                      $0.90

12/06/2017   Print                                      $0.75

12/06/2017   Print                                      $0.75

12/08/2017   Print                                      $0.60

12/08/2017   Print                                      $0.60

12/08/2017   Print                                      $0.75

12/11/2017   Print                                      $0.75

12/13/2017   Print                                      $0.15

12/13/2017   Print                                      $0.15

12/13/2017   Print                                      $0.60

12/14/2017   Print                                      $0.15

12/14/2017   Print                                      $0.15

12/14/2017   Print                                      $0.15

12/14/2017   Print                                      $0.60

12/14/2017   Print                                      $0.15

12/14/2017   Print                                      $0.15

12/15/2017   Print                                      $0.15

12/15/2017   Print                                      $0.60

12/18/2017   Print                                      $0.15

12/18/2017   Print                                      $0.15

12/18/2017   Print                                      $0.15
                                          Edelman, Combs, Latturner & Goodwin LLC
                                                                    Page No.: 18


12/18/2017   Print                                                           $0.15

12/18/2017   Print                                                           $2.25

12/18/2017   Print                                                           $0.75

1/03/2018    Legal research cost                                             $8.13

1/23/2018    Legal research costCK#1460                                      $0.90

2/20/2018    Print                                                           $0.15

2/20/2018    Print                                                           $0.15

2/20/2018    Print                                                           $0.15

2/20/2018    Print                                                           $2.25

3/06/2018    Print                                                           $1.05

3/15/2018    Print                                                           $0.30

3/15/2018    Print                                                           $0.15

3/15/2018    Print                                                           $0.15

3/15/2018    Print                                                           $0.45

3/15/2018    Print                                                           $1.65

3/15/2018    Print                                                           $0.60

3/15/2018    Print                                                           $0.60

3/15/2018    Print                                                           $1.80

3/15/2018    Print                                                           $1.35

3/15/2018    Print                                                           $0.45

3/20/2018    Print                                                           $0.15

3/20/2018    Copy                                                            $0.15

3/20/2018    Print                                                           $0.90
                                           Edelman, Combs, Latturner & Goodwin LLC
                                                                     Page No.: 19

3/20/2018    Print                                                            $9.90

4/02/2018    Print                                                            $1.80

4/02/2018    Print                                                            $0.15

4/02/2018    Print                                                            $1.50

4/02/2018    Print                                                            $1.05

4/02/2018    Print                                                            $1.05

4/02/2018    Print                                                            $1.35

4/18/2018    Legal research cost CK#1700                                      $1.80

5/16/2018    Copy                                                             $0.15

6/13/2018    Print                                                            $1.35

6/13/2018    Print                                                            $1.35

6/13/2018    Print                                                            $0.15

10/01/2018   Print                                                            $0.45

10/02/2018   Print                                                            $0.30

10/02/2018   Print                                                            $0.15

10/02/2018   Print                                                           $11.40

10/02/2018   Print                                                            $0.45

10/02/2018   Print                                                            $0.45

10/02/2018   Print                                                           $11.40

10/03/2018   Print                                                           $11.40

10/10/2018   Print                                                            $0.15

10/10/2018   Print                                                            $0.15

12/04/2018   Print                                                            $0.90

12/04/2018   Print                                                            $0.60
                                                                       Edelman, Combs, Latturner & Goodwin LLC
                                                                                                 Page No.: 20



12/04/2018                     Print                                                                         $0.15

12/04/2018                     Print                                                                         $0.15


                                                                                        Total Expenses    $1,089.17


     Total New Charges                                                                                   $35,887.17

Staff Summary
Name                                           Position                        Hours            Rate          Fees
Aimee Alvarez                                  Paralegal                        0.90         $125.00        $112.50
Corey J Varma                                  Associate                        0.10         $230.00         $23.00
Cathleen M. Combs                              Partner                          1.00         $700.00       $700.00
Cassandra P Miller                             Partner                         22.40         $325.00      $7,280.00
Cassandra P Miller                             Partner                         13.80         $450.00      $6,210.00
Daniel A. Edelman                              Partner                          2.00         $700.00      $1,400.00
Drishti Patel                                                                   0.30         $125.00         $37.50
Cortney McInerney                              Paralegal                        1.80         $125.00       $225.00
Francis R. Greene                              Partner                         21.00         $500.00     $10,500.00
Heather A. Kolbus                              Partner                          0.10         $500.00         $50.00
Itzi Llamas                                                                     6.30         $125.00       $787.50
Isabella Janusz                                Associate                        0.20         $230.00         $46.00
Jenna Studtmann                                Paralegal                        1.30         $125.00       $162.50
James O. Latturner                             Partner                          0.40         $700.00       $280.00
Paul M Waldera                                 Associate                        0.80         $230.00       $184.00
Patricia N Jjemba                                                              20.00         $230.00      $4,600.00
Rachael Hess                                                                    1.90         $125.00       $237.50
Miguel Ruiz                                                                     1.80         $125.00       $225.00
Rufus Coates Welsh                             Paralegal                       13.90         $125.00      $1,737.50
                                                                      Tot Hrs: 110.00

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     20 S. Clark Street, Suite 1500
     Chicago, IL 60603

     For security reasons, we do not retain credit card numbers for
     automatic charges. Please call 312-739-4200 to make credit
     card or debit card payments.
APPENDIX H
                                                                      Edelman, Combs, Latturner & Goodwin LLC
                                                                      20 S. Clark Street
                                                                      Suite 1500
                                                                      Chicago, IL 60603-3403




,                                                                                         Date:   2/13/2019



Regarding: DYNAMIC RECOVERY SOLUTIONS V. SIDDIQI, SHABIH
Invoice No: 00091

Services Rendered
Date        Staff        Description                                      Hours          Rate       Charges
8/16/2017   CPM          Review new file; New Case memo to                 0.30       $325.00        $97.50
                         CJV

8/17/2017   CJV          review new file                                    0.20      $230.00         $46.00

8/17/2017   RW           sent complaint to client for review,               0.40      $125.00         $50.00
                         circulating cmplt

8/18/2017   JOL          work on compllaint and class motion;               1.30      $700.00        $910.00
                         review of prior case; reseach; conf dae,
                         cpm

8/21/2017   CPM          Review complaint with client                       0.30      $325.00         $97.50

8/23/2017   RW           looking into lack of judge assignment,             0.40      $125.00         $50.00
                         filing mtn for class cert and memo ISO

8/23/2017   RW           filing notices of mtn, mtn to enter and            0.50      $125.00         $62.50
                         continue

8/23/2017   RW           prepping and filing complaint, civil cover         1.80      $125.00        $225.00
                         sheet, and all appearances. prepping
                         mtn for class cert, mtn to enter and
                         continue, notice of mtn, and exhibits

8/24/2017   JOL          rev of court order; rev of file                    0.30      $700.00        $210.00

8/24/2017   RW           processing initial filings (courtesy copy,         0.90      $125.00        $112.50
                         client copy, TM saving and printing

8/24/2017   RW           prepping and submitting proposed                   0.40      $125.00         $50.00
                         summons to court
                                                             Edelman, Combs, Latturner & Goodwin LLC
                                                                                       Page No.:   2


8/24/2017   RW    calling process servers, submitting                0.30      $125.00         $37.50
                  check requsts

8/24/2017   RW    compiling summons packets, drafting                0.40      $125.00         $50.00
                  signing and scanning cover letters,
                  sending all summons out

8/25/2017   CJV   Receipt of matter: Shabib Siddiqi v.               0.10      $230.00         $23.00
                  Dynamic Recovery Solutions, LLC and
                  Pinnacle Credit Services, LLC

8/25/2017   CJV   review of file and Rule 4; emails to/from          0.30      $230.00         $69.00
                  OC; conf CPM re same

8/25/2017   RW    logging and filing                                 0.10      $125.00         $12.50

8/25/2017   RW    logging and filing                                 0.10      $125.00         $12.50

8/25/2017   RW    logging nad filing                                 0.10      $125.00         $12.50

8/28/2017   CJV   ph call with clerk re motion to enter and          0.10      $230.00         $23.00
                  continue

8/28/2017   RW    called client re typo in complaint, spoke          0.40      $125.00         $50.00
                  to CJV, called clerks office

8/28/2017   RW    drafting first amended complaint                   0.10      $125.00         $12.50


8/29/2017   RW    drafting JISR                                      0.40      $125.00         $50.00

8/29/2017   RW    working on first amended copmlaint                 0.30      $125.00         $37.50

8/29/2017   RW    prepping, filing, and distributing first           1.50      $125.00        $187.50
                  amended complaint (process servers
                  judge client etc)

8/31/2017   RW    filing and processing SRE                          0.20      $125.00         $25.00

9/05/2017   RW    TM saving                                          0.10      $125.00         $12.50

9/05/2017   RW    logging and filing/processing docs                 0.10      $125.00         $12.50

9/05/2017   RW    logging adn filing                                 0.10      $125.00         $12.50

9/06/2017   RW    called process server/emailed docs                 0.20      $125.00         $25.00

9/12/2017   CJV   emails to/from OC re conference; conf              0.20      $230.00         $46.00
                  CPM
                                                           Edelman, Combs, Latturner & Goodwin LLC
                                                                                     Page No.:   3




9/12/2017   CPM   Response re litigation conference w OC           0.30      $325.00         $97.50

9/12/2017   RW    docketed date                                    0.10      $125.00         $12.50

9/13/2017   CPM   Review file for meeting w OC                     0.30      $325.00         $97.50

9/15/2017   RW    emailing process server                          0.10      $125.00         $12.50

9/18/2017   RW    filing and processing summons returned           0.30      $125.00         $37.50
                  executed (printing, saving, courtesy
                  copies)

9/19/2017   RW    logging adn filing                               0.10      $125.00         $12.50

9/20/2017   JOL   review of pinnicle answer                        0.30      $700.00        $210.00

9/21/2017   CJV   emails to/from OC re ph call scheduling          0.20      $230.00         $46.00

9/21/2017   RW    drafted discovery requests                       0.40      $125.00         $50.00

9/22/2017   RW    logging and filing, organizing docs,             0.30      $125.00         $37.50
                  printing missing docs

9/26/2017   CJV   emails to/from OC; conf CPM re                   0.20      $230.00         $46.00
                  extension

9/26/2017   CJV   email to/from OC                                 0.20      $230.00         $46.00

9/26/2017   CPM   Email exchange w OC                              0.20      $325.00         $65.00

9/28/2017   RW    logging adn filing                               0.10      $125.00         $12.50

10/02/2017 CJV    email to/from OC re status date                  0.20      $230.00         $46.00
                  extension

10/02/2017 CJV    conf CPM; prepare joint status report            0.60      $230.00        $138.00

10/05/2017 RW     logging and filing                               0.10      $125.00         $12.50

10/18/2017 CPM    Revisions to discovery responses                 1.20      $325.00        $390.00

10/18/2017 JOL    review of pinnacle answer                        0.30      $700.00        $210.00

10/19/2017 CJV    prepare Mandatory Initial Disclosures;           0.60      $230.00        $138.00
                  ph call w client; review d's mid

10/19/2017 CPM    Review D MID and docs produced; Rule             0.40      $325.00        $130.00
                  37 memo and summary docs
                                                            Edelman, Combs, Latturner & Goodwin LLC
                                                                                      Page No.:   4




10/19/2017 RW    sent out MIDP to all parties by mail and           0.60      $125.00         $75.00
                 email, prepped drafted and filed notice
                 of service, processed (courtesy copies,
                 our copies, TM saving)

10/19/2017 RW    processed D's MIIDP docs                           0.20      $125.00         $25.00

10/20/2017 CJV   prepare r37 letter to oc re midp                   1.10      $230.00        $253.00
                 responses; find sample protective order

10/20/2017 JOL   review of pinnicle discovery responses             0.30      $700.00        $210.00

10/23/2017 CJV   prepare P's midp verification; ph call             0.30      $230.00         $69.00
                 client

10/23/2017 CJV   finish prepareingprotective order/rule37           0.20      $230.00         $46.00
                 letter

10/23/2017 RW    sent verification sheet to client for              0.20      $125.00         $25.00
                 signature

10/23/2017 RW    amending mailing to client before it               0.10      $125.00         $12.50
                 went out

10/23/2017 RW    logging and filing                                 0.10      $125.00         $12.50

10/24/2017 CJV   finalize 26f report                                0.50      $230.00        $115.00

10/24/2017 CJV   prep for court                                     0.40      $230.00         $92.00

10/24/2017 CPM   Call from OC re plan; Email to CJV re              0.30      $325.00         $97.50
                 same

10/24/2017 CPM   Revisions to Planning report                       0.30      $325.00         $97.50

10/24/2017 RW    logging and filing                                 0.10      $125.00         $12.50

10/25/2017 CJV   ph call/emails with OC; finalize initial           1.20      $230.00        $276.00
                 status report; attend Initial Status
                 Hearing

10/26/2017 CJV   research one way intervention / costello           0.30      $230.00         $69.00

10/27/2017 RW    turned folder into binder, sent to AB,             0.80      $125.00        $100.00
                 created logging file

11/01/2017 CJV   prepare initial disco reqs                         0.60      $230.00        $138.00
                                                             Edelman, Combs, Latturner & Goodwin LLC
                                                                                       Page No.:   5

11/02/2017 CJV   conf rw re client midp verification                 0.10      $230.00         $23.00

11/02/2017 RW    called client re discovery verification             0.10      $125.00         $12.50

11/07/2017 CJV   conf RW re client MIDP verification                 0.10      $230.00         $23.00

11/08/2017 CPM   Review revise discovery requests                    0.30      $325.00         $97.50

11/08/2017 RW    called client to follow up on MIDP                  0.20      $125.00         $25.00
                 verification sheet

11/10/2017 RW    attempted to call client                            0.10      $125.00         $12.50

11/16/2017 RW    called client                                       0.20      $125.00         $25.00

11/20/2017 JOL   review of responses to discovery                    0.40      $700.00        $280.00

11/20/2017 JOL   rev of answers to discovery; rev of file            0.40      $700.00        $280.00

11/22/2017 CJV   revise disco reqs per DAE comments                  0.20      $230.00         $46.00

11/28/2017 CJV   review file (.1); finalize disco reqs per           0.60      $230.00        $138.00
                 dae commetns (.5)

11/29/2017 CJV   ph call to client re verification; answered         0.30      $230.00         $69.00
                 questions

11/29/2017 RW    sent mailing to client                              0.20      $125.00         $25.00

11/30/2017 CJV   revise disco reqs per DAE comments                  0.10      $230.00         $23.00

11/30/2017 RW    processing discovery docs                           0.20      $125.00         $25.00

11/30/2017 RW    prepping disc requests                              0.10      $125.00         $12.50

12/01/2017 CJV   ph call w OC re verification (.1); review           0.30      $230.00         $69.00
                 file (.1); contact client (.1)

12/01/2017 CJV   finalzie and send out disco reqs (.1);              0.30      $230.00         $69.00
                 emails to/from OC re dep availability of
                 client (.2)

12/01/2017 JE    drafted cover letters, printed, scanned,            0.40      $125.00         $50.00
                 saved, mailed to OC with discovery
                 requests

12/04/2017 CJV   ph call to client; emails from OC re dep            0.30      $230.00         $69.00
                 availability

12/05/2017 RW    listened to voicemail, spoke to                     0.20      $125.00         $25.00
                                                              Edelman, Combs, Latturner & Goodwin LLC
                                                                                        Page No.:   6

                 CJV,called client and left message


12/06/2017 CJV   ph call to client re verification and dates          0.10      $230.00         $23.00
                 for dep

12/07/2017 CJV   ph call with client re dep availability (.4);        0.90      $230.00        $207.00
                 conf RW re verification (.1); conf CPM
                 re VM from OC (.1); call OC re same
                 (.2); email to client confirming call (.1)

12/07/2017 RW    sent verification sheet to OC                        0.20      $125.00         $25.00

12/07/2017 RW    Scheduling transportation for deposition             0.10      $125.00         $12.50
                 CL

12/08/2017 CJV   email to client re dep availability; calls           0.30      $230.00         $69.00
                 to OC re same

12/08/2017 CJV   ph call with OC re deps and availability             0.40      $230.00         $92.00
                 (.2); conf FRG / CPM (.2)

12/08/2017 RW    logging and filing                                   0.20      $125.00         $25.00

12/11/2017 CJV   finalize r37 email and protective order;             0.40      $230.00         $92.00
                 email same to OC

12/11/2017 CJV   emails to/from OC re Client's dep                    0.50      $230.00        $115.00
                 confirmed (.2); conf CPM RW re same
                 (.2); firm wide email re newburger (.1)

12/11/2017 CJV   conf JOL re newburger                                0.30      $230.00         $69.00

12/11/2017 CJV   email to client re dep (.1); email from              0.20      $230.00         $46.00
                 OC re protective order and conf RW re
                 same (.1)

12/11/2017 CJV   ph call with siddiqi re dep                          0.20      $230.00         $46.00

12/11/2017 CPM   rev OC email; email/conf rw and cjv re               0.40      $325.00        $130.00
                 same

12/11/2017 RW    docketed date                                        0.10      $125.00         $12.50

12/11/2017 RW    logging and filing                                   0.10      $125.00         $12.50

12/12/2017 CJV   draft dep prep packet                                1.20      $230.00        $276.00

12/12/2017 CJV   review redlines changes to protective                0.50      $230.00        $115.00
                 order (.3); emails to/from OC re same
                 (.2)
                                                           Edelman, Combs, Latturner & Goodwin LLC
                                                                                     Page No.:   7




12/12/2017 RW    filling out depo packet, searching                0.50      $125.00         $62.50
                 dockets for preivous cases with client
                 involved

12/12/2017 RW    drafting redlined version of protective           0.30      $125.00         $37.50
                 order

12/13/2017 CJV   email conf CPM re dep of siddiqi                  0.20      $230.00         $46.00

12/13/2017 RW    prepping depo packet for client                   0.30      $125.00         $37.50

12/13/2017 RW    printing previous case dockets for CPM            0.30      $125.00         $37.50

12/14/2017 CJV   prep objs to notice of dep; conf CPM              0.60      $230.00        $138.00
                 DAE and RW re same

12/14/2017 CPM   Review depo notice from OC; respond               0.60      $325.00        $195.00
                 pursuant to R 37; conf CJV re same;
                 Review objection to notice

12/14/2017 JOL   review of emails; rev of file                     0.20      $700.00        $140.00

12/14/2017 RW    pricessing notice of depo                         0.10      $125.00         $12.50

12/15/2017 RW    served objections to notice of depo               0.20      $125.00         $25.00

12/18/2017 CJV   email to Oc re r 37 letter followup               0.10      $230.00         $23.00

12/18/2017 CJV   ph call with corinne heggie re dep                0.40      $230.00         $92.00
                 issue, protective order, and insurance
                 discl

12/18/2017 CJV   conf CL and client re car ride to dep             0.30      $230.00         $69.00

12/18/2017 CJV   emails to/from OC re client's dep                 0.20      $230.00         $46.00

12/19/2017 RW    logging and filing                                0.10      $125.00         $12.50

12/20/2017 CJV   conf LS re transportation and update              0.20      $230.00         $46.00
                 dep prep packet re same

12/20/2017 CJV   finalize dep prep packet; emial to client         0.20      $230.00         $46.00

12/20/2017 CJV   emails to/from client                             0.20      $230.00         $46.00

12/20/2017 LS    Made travel arrangements for client               0.30      $125.00         $37.50
                 Shabih Siddiqi for dep on 1.18.18
                                                            Edelman, Combs, Latturner & Goodwin LLC
                                                                                      Page No.:   8

12/20/2017 RW     sent docs to client                               0.20      $125.00         $25.00

12/21/2017 CJV    emails to/from client re transportation to        0.40      $230.00         $92.00
                  dep; research exclusion of wife; corr LS
                  re cost of addtl passenger

12/29/2017 CPM    PC from OC re exten disc; Email re                0.30      $325.00         $97.50
                  same; follow up CJV re same

1/03/2018   CJV   conf cpm re upcoming dep                          0.10      $230.00         $23.00

1/04/2018   CJV   review file; email to OC re protective            0.30      $230.00         $69.00
                  order and insurance policies

1/05/2018   CJV   emails to/from OC re dep of client,               0.20      $230.00         $46.00
                  insurance, and protective order; conf
                  CPm re same

1/08/2018   CJV   ph call with client re dep prep; ans              0.20      $230.00         $46.00
                  questions re same

1/09/2018   CJV   ph call with OC re disc docs and                  0.50      $230.00        $115.00
                  requested extension; conf CPm re
                  same

1/09/2018   CJV   email to OC re Extension for                      0.20      $230.00         $46.00
                  defendants' to respond to First set of
                  Written Discovery Requests to Friday
                  1/12

1/09/2018   CJV   emails to/from OC re disc extension;              0.20      $230.00         $46.00
                  conf CPM re same;

1/09/2018   CPM   Review R37 to OC and protective order             0.40      $325.00        $130.00
                  docs

1/10/2018   RW    prepping and filing mtn for entry of              0.40      $125.00         $50.00
                  agreed protective order

1/10/2018   RW    processing mtn for protective order               0.50      $125.00         $62.50

1/12/2018   CJV   briefly review disc docs recieved from            0.10      $230.00         $23.00
                  OC

1/15/2018   CJV   conf CPm; call clerk re confidentiality           0.30      $230.00         $69.00
                  order

1/15/2018   JOL   review of deft discovery responses;               0.60      $700.00        $420.00
                  review of file
                                                              Edelman, Combs, Latturner & Goodwin LLC
                                                                                        Page No.:   9

1/15/2018   TC    leave vm with clerk re confidentiality              0.10      $125.00         $12.50
                  order

1/16/2018   CJV   emails to/ from OC re disco docs                    0.30      $230.00         $69.00
                  withheld; review same

1/16/2018   RW    printing disc docs                                  0.10      $125.00         $12.50

1/17/2018   CJV   conf with CPM re dep prep and ph call               1.60      $230.00        $368.00
                  with client re same

1/17/2018   CJV   prep for call with client re deposition             0.30      $230.00         $69.00

1/17/2018   CPM   Prep for plt dep prep; conf CJV and                 1.90      $325.00        $617.50
                  DAE re same; Dep prep of client

1/17/2018   JOL   review of court's confidentiality order             0.20      $700.00        $140.00

1/17/2018   RW    logging and filing                                  0.10      $125.00         $12.50

1/17/2018   RW    processing discovery docs, printing info            0.40      $125.00         $50.00
                  for CJV, regiestering for Kane County

1/17/2018   RW    logging and filing                                  0.10      $125.00         $12.50

1/18/2018   CJV   dep prep with client; attend dep of                 5.60      $230.00      $1,288.00
                  client; conf/debrief CPM and DAE re
                  same

1/18/2018   CPM   Dep Prep Client; Attend dep of client;              6.80      $325.00      $2,210.00
                  follow up re same

1/18/2018   RW    walked clients to car                               0.20      $125.00         $25.00

1/18/2018   RW    scanning and saving                                 0.10      $125.00         $12.50

1/18/2018   RW    compiling previous siddiqi files into zip           0.20      $125.00         $25.00

1/18/2018   RW    looking up bankruptcy filings                       0.10      $125.00         $12.50

1/23/2018   RW    scanning, saving, logging and filing                0.20      $125.00         $25.00

1/25/2018   CPM   Rev disc                                            0.40      $325.00        $130.00

1/30/2018   RW    processing deposition transcript                    0.30      $125.00         $37.50

1/31/2018   RW    logging nad ifling                                  0.10      $125.00         $12.50

2/02/2018   CJV   ph call with client re errata sheet read            0.50      $230.00        $115.00
                  through entire transcript
                                                                Edelman, Combs, Latturner & Goodwin LLC
                                                                                          Page No.: 10




2/02/2018   RW    saved doc                                             0.10      $125.00         $12.50

2/15/2018   RW    processed errata sheet from clients                   0.20      $125.00         $25.00
                  depo

2/15/2018   RW    logging and filing                                    0.10      $125.00         $12.50

2/15/2018   RW    scanning and saving                                   0.10      $125.00         $12.50

2/20/2018   CPM   Appear on status                                      1.00      $325.00        $325.00

2/20/2018   CPM   Email exchange re settlement; rev d                   0.40      $325.00        $130.00
                  emails; prep court

3/06/2018   RW    processiing, logging adn filing docs                  0.10      $125.00         $12.50

3/19/2018   CJV   prepare mtn to consolidate                            0.80      $230.00        $184.00

3/20/2018   CJV   prepare mot to transfer case to Navarroli             1.90      $230.00        $437.00

3/20/2018   CJV   ph call to client re settl; email follow up           0.50      $230.00        $115.00
                  re same

3/21/2018   CJV   email from client; conf FRG re same                   0.30      $230.00         $69.00

3/23/2018   CJV   prep for and ph call to siddiqi re                    0.20      $230.00         $46.00
                  settlement

3/23/2018   CJV   vm from siddiqi                                       0.10      $230.00         $23.00

3/23/2018   CPM   conf client re settlement terms w FRG                 0.20      $325.00         $65.00
                  and CJV

3/23/2018   RW    scannign and saving client docs                       0.10      $125.00         $12.50

3/27/2018   RW    updating OC contact info                              0.20      $125.00         $25.00

3/27/2018   RW    logging and filing                                    0.10      $125.00         $12.50

3/28/2018   CJV   review minute order; conf FRG and RW                  0.20      $230.00         $46.00
                  re transfer and reassign case; update
                  same

3/28/2018   RW    filing and processing mtn to reassign                 0.90      $125.00        $112.50
                  (prepping, filing, printing, saving,
                  courtesy copy, letter to judge and cc to
                  OC)
                                                            Edelman, Combs, Latturner & Goodwin LLC
                                                                                      Page No.: 11

3/29/2018   RW    sent filings to cleint                            0.10      $125.00         $12.50

4/02/2018   RW    logging and filing                                0.20      $125.00         $25.00

4/04/2018   RW    logging and filing                                0.10      $125.00         $12.50

4/10/2018   CPM   Conf FRG re motion and clerk email;               0.30      $325.00         $97.50
                  Email exchange w OC re same; Conf
                  FRG re related case

4/10/2018   CPM   Conf DAE; review settlement terms;                0.40      $325.00        $130.00
                  respond to atty email; mark revision to
                  agreement; conf frg re same

4/10/2018   CPM   Call to clerk with OC re appearance and           0.30      $325.00         $97.50
                  unopposed motion; follow up re same

4/10/2018   IL    printed copy of mtn to reassign for frg           0.10      $125.00         $12.50

4/10/2018   IL    conf w. FRG re docket                             0.20      $125.00         $25.00

4/10/2018   RW    logging and filing                                0.10      $125.00         $12.50

4/11/2018   DSK                                                     0.70      $230.00        $161.00

4/11/2018   FRG   court: appeared on motion to reassign             1.00      $500.00        $500.00
                  case to Judge Cox; court appearance
                  status report

4/11/2018   IMJ   Observed status hearing                           0.40      $230.00         $92.00

4/12/2018   IL    logged CASR ot 4/11/18                            0.10      $125.00         $12.50

4/18/2018   RW    logging and filing                                0.10      $125.00         $12.50

5/21/2018   CPM   Email exchange w client re status of              0.30      $325.00         $97.50
                  settlement

6/14/2018   IL    logged MINUTE entry                               0.10      $125.00         $12.50

6/20/2018   RW    logging and filing                                0.10      $125.00         $12.50

7/06/2018   CPM   Conf OC re settlement terms and                   0.40      $325.00        $130.00
                  scheduling prelim app; follow up email

7/06/2018   CPM   Conf DAE re OC call; follow up email to           0.40      $325.00        $130.00
                  OC re same

8/02/2018   RW    logging and filing                                0.10      $125.00         $12.50
                                                         Edelman, Combs, Latturner & Goodwin LLC
                                                                                   Page No.: 12


8/22/2018    RW    logging and filing                            0.10      $125.00         $12.50

9/13/2018    CPM   Status                                        1.00      $325.00        $325.00

9/19/2018    RW    logging and filing                            0.10      $125.00         $12.50

10/02/2018 RW      called client                                 0.10      $125.00         $12.50

10/03/2018 RW      mailing SA to client                          0.20      $125.00         $25.00

10/03/2018 RW      read email, spoke to CPM, emailed             0.20      $125.00         $25.00
                   client

10/05/2018 EY      dkt minute order 10/4                         0.10      $125.00         $12.50

10/11/2018 RW      logging and filing                            0.10      $125.00         $12.50

10/25/2018 PMW     Return client call; email CPM about           0.20      $230.00         $46.00
                   same

12/17/2018 RH      Logging and Filing                            0.10      $125.00         $12.50

1/22/2019    RW    saving docs                                   0.10      $125.00         $12.50

2/07/2019    PMW   Review voicemail from client; respond to      0.30      $230.00         $69.00
                   client


                                                                         Total Fees    $20,580.50

Expenses
Start Date         Description                                                           Charges
1/09/2017          Postage                                                                 $0.92

1/09/2017          Postage                                                                  $1.40

8/09/2017          Copy                                                                     $0.30

8/09/2017          Print                                                                    $0.15

8/09/2017          Print                                                                    $0.15

8/09/2017          Print                                                                    $0.30

8/09/2017          Postage                                                                  $0.92

8/11/2017          Print                                                                    $1.20
                      Edelman, Combs, Latturner & Goodwin LLC
                                                Page No.: 13


8/11/2017   Print                                        $1.20

8/11/2017   Print                                        $0.30

8/11/2017   Print                                        $0.30

8/14/2017   Print                                        $0.15

8/14/2017   Print                                        $0.75

8/14/2017   Print                                        $1.80

8/14/2017   Print                                        $1.80

8/14/2017   Print                                        $0.60

8/17/2017   Print                                        $0.30

8/17/2017   Print                                        $1.20

8/17/2017   Postage                                      $1.40

8/18/2017   Print                                        $1.20

8/24/2017   Print                                        $0.60

8/24/2017   Print                                        $0.60

8/24/2017   Print                                        $0.15

8/24/2017   Print                                        $0.15

8/24/2017   Print                                        $0.90

8/24/2017   Print                                        $0.60

8/24/2017   Print                                        $0.45

8/24/2017   Print                                        $0.60

8/24/2017   Print                                        $8.40

8/24/2017   Print                                        $1.50

8/24/2017   Print                                        $1.65
                    Edelman, Combs, Latturner & Goodwin LLC
                                              Page No.: 14

8/24/2017   Print                                      $1.65

8/24/2017   Print                                      $0.60

8/24/2017   Print                                      $0.90

8/24/2017   Print                                      $0.60

8/24/2017   Print                                      $8.40

8/24/2017   Print                                      $1.50

8/24/2017   Print                                      $0.15

8/24/2017   Print                                      $0.15

8/24/2017   Print                                      $0.15

8/24/2017   Print                                      $0.15

8/24/2017   Print                                      $0.15

8/24/2017   Print                                      $0.15

8/24/2017   Print                                      $0.30

8/24/2017   Print                                      $3.30

8/24/2017   Print                                      $0.15

8/24/2017   Print                                      $0.30

8/24/2017   Print                                      $0.45

8/24/2017   Print                                      $0.30

8/24/2017   Print                                      $4.20

8/24/2017   Print                                      $0.15

8/24/2017   Print                                      $0.15

8/24/2017   Print                                      $0.15

8/24/2017   Print                                      $0.15

8/24/2017   Print                                      $0.15
                                          Edelman, Combs, Latturner & Goodwin LLC
                                                                    Page No.: 15



8/24/2017    Print                                                           $0.30

8/24/2017    Print                                                           $1.65

8/24/2017    Postage                                                         $6.16

8/25/2017    Filing Fee-DAE VISA                                           $400.00

8/25/2017    Process server fee-CK#1194                                     $60.00

8/25/2017    Process server fee-CK#1195                                     $67.00

8/28/2017    Copy                                                            $0.30

8/29/2017    Print                                                           $0.15

8/29/2017    Print                                                           $0.15

8/29/2017    Print                                                           $0.15

8/29/2017    Print                                                           $5.40

8/29/2017    Postage                                                         $2.80

8/31/2017    Print                                                           $1.20

8/31/2017    Print                                                           $0.15

9/18/2017    Print                                                           $0.15

9/18/2017    Print                                                           $0.30

9/18/2017    Print                                                           $0.30

9/18/2017    Print                                                           $0.15

9/19/2017    Phone chargeCK#1243                                             $0.02

9/22/2017    Print                                                           $0.15

9/22/2017    Print                                                           $1.80

10/19/2017   Print                                                           $0.60

10/19/2017   Print                                                           $7.05
                                          Edelman, Combs, Latturner & Goodwin LLC
                                                                    Page No.: 16


10/19/2017   Print                                                           $0.30

10/19/2017   Print                                                           $4.35

10/19/2017   Print                                                           $0.90

10/19/2017   Print                                                           $0.15

10/19/2017   Print                                                           $0.15

10/19/2017   Print                                                           $0.60

10/19/2017   Print                                                           $2.40

10/19/2017   Print                                                           $0.60

10/20/2017   Postage                                                         $0.46

10/20/2017   Legal research costCK#1317                                      $7.30

10/23/2017   Print                                                           $0.15

10/23/2017   Print                                                           $0.15

10/23/2017   Print                                                           $0.15

10/23/2017   Print                                                           $0.45

10/25/2017   Print                                                           $0.15

11/01/2017   Print                                                           $0.30

11/01/2017   Print                                                           $2.40

11/29/2017   Print                                                           $0.60

11/29/2017   Print                                                           $0.15

11/29/2017   Print                                                           $0.15

11/29/2017   Postage                                                         $0.46

11/29/2017   Postage                                                         $1.19

11/30/2017   Print                                                           $1.95
                       Edelman, Combs, Latturner & Goodwin LLC
                                                 Page No.: 17

12/01/2017   Print                                        $0.15

12/01/2017   Print                                        $0.15

12/01/2017   Print                                        $0.15

12/01/2017   Print                                        $0.15

12/01/2017   Print                                       $29.40

12/01/2017   Print                                       $14.70

12/01/2017   Postage                                     $13.30

12/11/2017   Print                                       $23.85

12/11/2017   Print                                        $0.15

12/13/2017   Print                                        $0.60

12/13/2017   Print                                        $0.45

12/13/2017   Print                                        $0.45

12/13/2017   Print                                        $0.45

12/13/2017   Print                                        $0.45

12/13/2017   Print                                        $0.45

12/14/2017   Postage                                      $0.92

12/14/2017   Print                                        $1.35

12/14/2017   Print                                        $0.30

12/14/2017   Print                                        $0.30

12/14/2017   Print                                        $0.30

12/14/2017   Print                                        $0.45

12/14/2017   Print                                        $0.45

12/20/2017   Print                                        $0.15

12/20/2017   Print                                        $1.05
                       Edelman, Combs, Latturner & Goodwin LLC
                                                 Page No.: 18



12/20/2017   Postage                                      $1.19

1/10/2018    Print                                        $2.55

1/10/2018    Print                                        $2.10

1/10/2018    Print                                        $2.10

1/10/2018    Print                                        $0.15

1/10/2018    Print                                        $0.15

1/10/2018    Print                                        $0.15

1/10/2018    Print                                        $0.15

1/10/2018    Copy                                         $0.15

1/10/2018    Print                                        $0.60

1/10/2018    Print                                        $4.20

1/10/2018    Print                                        $0.15

1/10/2018    Print                                        $0.15

1/16/2018    Print                                        $3.45

1/16/2018    Print                                        $0.60

1/16/2018    Print                                        $0.60

1/16/2018    Print                                        $3.45

1/17/2018    Print                                        $0.90

1/17/2018    Print                                        $3.75

1/17/2018    Print                                        $0.60

1/17/2018    Print                                        $3.75

1/17/2018    Print                                        $0.90

1/17/2018    Print                                        $0.60
                                                  Edelman, Combs, Latturner & Goodwin LLC
                                                                            Page No.: 19


1/17/2018   Print                                                                    $1.65

1/22/2018   AM Travel/ windy city limo-DAE VISA                                    $131.25


1/22/2018   PM Travel/windy city limo- DAE VISA                                    $131.25

1/23/2018   Legal research costCK#1460                                               $1.20

1/26/2018   Travel/food CK#1520                                                     $34.45

1/26/2018   Travel CK#1520                                                          $11.50

1/30/2018   Print                                                                    $6.15

1/30/2018   Print                                                                    $0.15

1/30/2018   Print                                                                    $0.45

1/30/2018   Print                                                                    $7.05

1/30/2018   Postage                                                                  $0.47

1/30/2018   Postage                                                                  $2.68

2/22/2018   Print                                                                    $1.50

2/22/2018   Print                                                                    $0.30

2/26/2018   Travel/Limo CK#1573                                                    $131.25

2/26/2018   Travel/Limo CK#1573                                                    $131.25

2/26/2018   Travel CK#1573                                                          $11.50

3/20/2018   Print                                                                    $0.15

3/20/2018   Print                                                                    $0.15

3/20/2018   Print                                                                    $0.60

3/20/2018   Print                                                                    $0.60

3/28/2018   Print                                                                    $0.30

3/28/2018   Print                                                                    $0.15
                                                       Edelman, Combs, Latturner & Goodwin LLC
                                                                                 Page No.: 20



3/28/2018                Print                                                            $0.90

3/28/2018                Print                                                            $9.90

3/28/2018                Print                                                            $0.15

3/28/2018                Print                                                            $0.15

3/28/2018                Postage                                                          $0.94

3/29/2018                Print                                                            $0.30

4/06/2018                Print                                                            $0.15

4/06/2018                Court Reporter-CK#1671                                         $588.65

4/06/2018                Postage                                                          $0.47

4/10/2018                Print                                                            $4.95

4/11/2018                Print                                                            $0.15

4/18/2018                Legal research cost CK#1700                                      $2.30

8/02/2018                Legal research cost                                              $0.50

10/03/2018               Print                                                            $0.15

10/03/2018               Print                                                            $0.45


                                                                     Total Expenses    $1,976.25


     Total New Charges                                                                $22,556.75

Staff Summary
Name                                    Position             Hours           Rate          Fees
Corey J Varma                           Associate            32.00        $230.00      $7,360.00
Cassandra P Miller                      Partner              19.40        $325.00      $6,305.00
David Kim                               Associate             0.70        $230.00       $161.00
Cortney McInerney                       Paralegal             0.10        $125.00         $12.50
Francis R. Greene                       Partner               1.00        $500.00       $500.00
Itzi Llamas                                                   0.50        $125.00         $62.50
Isabella Janusz                         Associate             0.40        $230.00         $92.00
Jenna Studtmann                         Paralegal             0.40        $125.00         $50.00
James O. Latturner                      Partner               4.30        $700.00      $3,010.00
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                                                                                                 Page No.: 21


Lisa Stroud                                    Paralegal                        0.30     $125.00         $37.50
Paul M Waldera                                 Associate                        0.50     $230.00        $115.00
Rachael Hess                                                                    0.10     $125.00         $12.50
Rufus Coates Welsh                             Paralegal                       22.80     $125.00      $2,850.00
Tessa Chiu                                     Paralegal                        0.10     $125.00         $12.50
                                                                      Tot Hrs: 82.60

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     Chicago, IL 60603

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